MER-L-000272-21 06/18/2021 4:58:02 PM ro 2 of 2 Trans ID: LCV20211470242
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ORDERED that Plaintiffs’ Complaint asserted against
Defendant, Princeton Medical Group, P.A., is hereby DISMISSED WITH
PREJUDICE; and it is further

ORDERED that any and all cross-claims asserted against
Defendant, Princeton Medical Group, P.A., are hereby dismissed
with prejudice;

FURTHER ORDERED that a copy of this Order shall be served

upon all counsel of records within seven (7) days of receipt.

 

Opposed

Unopposed
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 1 of 4 Trans ID: LCV20211470242
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Gregory J. Giordano, Esq., ID# 026481984
Stephanie J. Viola, Esg., ID# 246342017
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GIORDANO, LANG, CARRIGG & CASEY, LLC
136 Franklin Corner Road, Unit B2
Lawrenceville, New Jersey 08648
(609) 896-2000
Attorney(s) for Defendant, Princeton Medical Group, P.A.

 

SHINGO LAVINE, ADAM LAVINE, AND | SUPERIOR COURT OF NEW JERSEY
ATKO LAVINE, LAW DIVISION —- MERCER COUNTY
DOCKET NO.: MER-L-272-21
Plaintiffs,
CIVIL ACTION
Vv.
PRINCETON MEDICAL GROUP, P.A. CERTIFICATION OF COUNSEL IN
AND AMERICAN ACADEMY OF SUPPORT OF DEFENDANT’S MOTION
PEDIATRICS INC., TO DISMISS PLAINTIFFS’
COMPLAINT
Defendants.

 

 

I, Stephanie J. Viola, Esquire, of full age, having been duly

sworn upon my oath, do hereby certify and state:

1.I am an attorney at law in the State of New Jersey and an
associate of the law firm of Lenox, Socey, Formidoni,
Giordano, Lang, Carrigg & Casey, LLC, attorneys for
Defendant, Princeton Medical Group, P.A., in the above-
captioned matter.

2.As such, I am familiar with the facts set forth herein and
make this Certification in support of Defendant’s Motion to
Dismiss Plaintiff’s Complaint, with prejudice, for failure to

state a claim upon which relief can be granted.
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3. Plaintiff’s Complaint alleges that on or about December 18,
1997, Plaintiffs, Adam and Aiko Lavine, were fraudulently
induced by the now-deceased Jeffrey L. Chait, M.D., to consent
to the circumcision of their son, Plaintiff, Shingo Lavine.
A true and accurate copy of Plaintiff’s Complaint is attached
hereto as “Exhibit A”.

4.In December 1997, Dr. Chait was an employee of Defendant,
Princeton Medical Group, P.A. Exhibit A.

5. Plaintiffs’ allege that Dr. Chait portrayed circumcision as
a “routine and normal part of childbirth” in order to obtain
their consent to circumcise Shingo. Exhibit A.

6. Plaintiffs verbally consented to the procedure. Exhibit A.

7. Plaintiff, Adam Lavine, alleges that Dr. Chait informed him
that the American Academy of Pediatrics issued guidelines
about circumcision which included health benefits, and Dr.
Chait presented same as a harmless procedure. Exhibit A.

8. Approximately one month after the circumcision, Plaintiffs
became concerned that the circumcision had not been performed
properly. Exhibit A.

9.On or about January 1998, Plaintiffs presented to David
Sharlin, M.D. with concerns about Shingo’s penis, who
informed Plaintiff he believed there complications from the

procedure. Exhibit A.
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10. On or about January 21, 1998, Plaintiffs presented to
Joseph Barone, M.D. for evaluation, after which Shingo
underwent a second circumcision. Exhibit A.

11. Plaintiff, Shingo Lavine alleges he has’ suffered
injuries to his foreskin as a result of the two circumcisions.
Exhibit A.

12. Despite meeting with additional doctors about Shingo’s
circumcisions and resulting complications, Plaintiffs allege
they “only became truly aware” of Shingo’s issues until
speaking with law professor Peter W. Adler, who is an expert

on circumcision and the law. Exhibit A.

13. In 1989, Defendant, American Academy of Pediatrics, Inc.
(“Academy”) issued a “Report of the Task Force on
Circumcision”, which Plaintiffs allege operate as

circumcision guidelines, which Dr. Chait relief upon when
requesting consent to circumcise Shingo. Exhibit A.

14. Plaintiffs allege that the Academy’s report contained
numerous intentional misrepresentations and omissions, and
did not properly disclose all risks associated with
circumcision. Exhibit A.

15. Plaintiffs bring one count against this Defendant for
intentional fraud, based on Dr. Chait eliciting Plaintiffs’

consent to circumcise Shingo. Exhibit A.
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16. Plaintiffs bring a second claim against this Defendant
for constructive fraud based on Dr. Chait violating the trust
of Plaintiffs in offering to circumcise Shingo. Exhibit A.

17. Pursuant to N.J.S.A. 2A:14-1, causes of action for fraud
“shall be commenced within 6 years next after the cause of
any such action shall have accrued”. N.J.S.A. 2A:14-1.

18. Plaintiffs’ alleged causes of action arose in 1997,
which is well beyond the statutory limitations period, and
therefore same are time barred.

19. For these reasons, Defendant now moves to dismiss

Plaintiff’s Complaint with prejudice.

I certify that the foregoing statements made by me are true. I
am aware that if any of the foregoing statements are willfully
false, I am subject to punishment.

LENOX, SOCEY, FORMIDONI, GIORDANO,
LANG, CARRIGG & CASEY, LLC.

Stephanie Y. Viola

Stephanie J. Viola, Esquire
Attorneys for Defendant,
Princeton Medical Group, P.A.

 

DATED: June 18, 2021
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 1 of 12 Trans ID: LCV20211470242
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Gregory J. Giordano, Esq., ID# 026481984
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(609) 896-2000
Attorney(s) for Defendant, Princeton Medical Group, P.A.

 

SHINGO LAVINE, ADAM LAVINE, AND SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, LAW DIVISION — MERCER COUNTY
DOCKET NO.: MER-L-272-21

Plaintiffs,
CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A.
AND AMERICAN ACADEMY OF
PEDIATRICS INC.,

Defendants.

 

 

BRIEF IN SUPPORT OF DEFENDANT, PRINCETON MEDICAL GROUP, P.A.’S
MOTION TO DISMISS PLAINTIFF’S COMPLAINT

 

GREGORY J. GIORDANO, ESQUIRE, OF COUNSEL
STEPHANIE J. VIOLA, ESQUIRE, ON THE BRIEF
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PRELIMINARY STATEMENT

 

Defendant, Princeton Medical Group, P.A. (“Defendant”), by
and through its undersigned attorneys and pursuant to New Jersey
Rule 4:6-2(e), moves this Court to dismiss Plaintiffs’ Complaint
for failure to state a claim upon which relief can be granted.
Plaintiffs’ Complaint alleges intentional and constructive fraud
against this Defendant, however Plaintiffs’ claims are actually
grounded in medical malpractice, as opposed to tort. Further,
the statute of limitations to bring a cause of action for fraud
in New Jersey is six years, and the alleged actions giving rise
to Plaintiffs’ claims occurred more than twenty-three years ago.
N.J.S.A. 2A:14-1. As set forth more fully herein, the
Plaintiffs’ claims are time barred by the state of limitations,
and further barred as New Jersey case law makes clear that
causes of action based upon alleged malpractice cannot be re-
packaged as a fraud claim. Accordingly, Plaintiffs have failed
to carry their burden to set forth a valid cause of action for
which relief can be granted as to Defendant, Princeton Medical
Group, P.A., and their claims should be dismissed.

STATEMENT OF FACTS

 

Plaintiff’s Complaint alleges that on or about December 18,
1997, Plaintiffs, Adam and Aiko Lavine, were fraudulently
induced by the now-deceased Jeffrey L. Chait, M.D., to consent

to the circumcision of their son, Plaintiff, Shingo Lavine.
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Exhibit A. In December 1997, Dr. Chait was an employee of
Defendant, Princeton Medical Group, P.A. Id. Plaintiffs’ allege
that Dr. Chait portrayed circumcision as a “routine and normal
part of childbirth” in order to obtain their consent to
circumcise Shingo. Id. Plaintiffs verbally consented to the
procedure. Id. Plaintiff, Adam Lavine, alleges that Dr. Chait
informed him that the American Academy of Pediatrics issued
guidelines about circumcision which included health benefits,
and Dr. Chait presented same as a harmless procedure. Id.

Approximately one month after the circumcision, Plaintiffs
became concerned that the circumcision had not been performed
properly. Id. On or about January 1998, Plaintiffs presented to
David Sharlin, M.D. with concerns about Shingo’s penis, who
informed Plaintiff he believed there complications from the
procedure. Id. On or about January 21, 1998, Plaintiffs
presented to Joseph Barone, M.D. for evaluation, after which
Shingo underwent a second circumcision. Id. Plaintiff, Shingo
Lavine alleges he has suffered injuries to his foreskin as a
result of the two circumcisions. Id.

Despite meeting with additional doctors about Shingo’s
circumcisions and resulting complications, Plaintiffs allege
they “only became truly aware” of Shingo’s issues until speaking

with law professor Peter W. Adler, who is an expert on

circumcision and the law. Id. Plaintiffs allege that Dr. Chait
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relied upon the “Report of the Task Force on Circumcision”,
issued by the American Academy of Pediatrics, Inc. in 1998, and
same contained numerous intentional misrepresentations and
omissions, and did not properly disclose all risks associated
with circumcision. Id. Plaintiffs claim that by allegedly
referencing the 1998 Report, Dr. Chait fraudulently induced
Plaintiffs to consent to the circumcision. Id.

Since Plaintiffs fail to allege legally cognizable fraud
claims, and same would further be time barred, there is no basis

for liability against Defendant, Princeton Medical Group, P.A.

and therefore Plaintiffs’ Complaint must be dismissed.

LEGAL ARGUMENT

STANDARD OF REVIEW

 

This application is made pursuant to R. 4:6-2(e). When
deciding a motion to dismiss for failure to state a claim, a
reviewing court "searches the complaint in depth and with
liberality to ascertain whether the fundament of a cause of
action may be gleaned even from an obscure statement of claim,
opportunity being given to amend if necessary." Printing Mart-

Morristown v. Sharp Electronics Corp., 116 N.J. 739, 746 (1989)

 

(quoting Di Cristofaro v. Laurel Grove Memorial Park, 43 N.d.

 

Super. 244, 252 (App. Div. 1957)). However, this inquiry is

limited to examining the legal sufficiency of the facts alleged
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on the face of the complaint. Printing Mart-Morristown, 116

 

N.J. at 746.
For a claim to survive, Plaintiffs must allege sufficient
facts, and not only conclusory allegations, to support a cause

of action. Scheidt v. DRS Technologies, Inc., 424 N.J. Super.

 

188, 193 (App. Div. 2012). Although “[t]he examination of a
complaint's allegations of fact required by the aforestated
principles should be one that is at once painstaking and
undertaken with a generous and hospitable approach,” if the
complaint states no basis for relief and discovery would not
provide one, dismissal is appropriate. Id. See also, Camden

County Energy Recovery Assoc., L.P. v. N.J. Dep't of Envtl.

 

Prot., 320 N.J. Super. 59, 64 (App. Div. 1999), aff'd, 170 N.J.

 

246 (2001).

I. COUNTS I AND II OF PLAINTIFFS’ COMPLAINT MUST BE
DISMISSED BECAUSE A FRAUD CLAIM CANNOT BE MAINTAINED
WHEN THE DAMAGES ALLEGED FLOW FROM MALPRACTICE.

 

 

 

Counts One and Two and Plaintiffs’ Complaint allege
intentional and constructive fraud based on the alleged
misrepresentations of Dr. Chait, resulting in the alleged
injuries to Plaintiff Shingo Lavine as a result of the
circumcision. Exhibit A. Plaintiffs allege that their lack of
informed consent about circumcisions resulted in Plaintiff Adam
Lavine consenting to Shingo’s circumcision, which ultimately had

complications. Id. After careful review of situations where
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plaintiffs bring claims against physicians based on a lack of
informed consent, as opposed to a complete lack of consent
(battery), the New Jersey Supreme Court opined,

we are not convinced that our common law should be
extended to allow a novel fraud or deceit-based cause
of action in this doctor-patient context that
regularly would admit of the possibility of punitive
damages, and that would circumvent the requirements
for proof of both causation and damages imposed in a
traditional informed consent setting. We are
especially reluctant to do so when plaintiff's damages
from this alleged “fraud” arise exclusively from the
doctor-patient relationship involving plaintiff's
corpectomy procedure.

Howard v. University of Medicine and Dentistry of New Jersey,

 

172 N.J. 537, 553-54 (2002). The Howard court distinctively held
that in circumstances where a plaintiff alleges some form of
lack of informed consent from a physician, “a fraud or deceit-
based claim is unavailable”. Id. The rationale being that
“deviation from the standard of care and failure to obtain
informed consent are simply sub-groups of a broad claim of
medical negligence”. Id. 545. The Howard court ultimately
declined to permit the plaintiff to maintain a separate cause of
action for fraud. Id. 560.

Since Howard, New Jersey courts have consistently held that
lack of informed consent cases must appropriately be brought as

medical negligence claims and cannot be re-packed as fraud

claims. In Liguori v. Elmann, the New Jersey Supreme Court again

 

considered whether a cause of action for fraud can be maintained
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based on an underlying allegation of medical negligence. In
Ligouri, the claims brought against the physicians were based on
a lack of informed consent and deviation from the applicable
Standard of care, though pled as fraud claims. Liguori v.
Elmann, 191 N.J. 527, 548 (2007). The Ligouri court held that
because the harms suffered as a result of the alleged fraud
cannot be separated from the act of medical negligence, in this
matter, the circumcision performed by Dr. Chait, the court saw
no reason to “deviate from our careful analysis in Howard”, and
therefore the fraud claims were precluded. Id. The analysis and
reasoning in Ligouri applies to this matter.

Here, Plaintiffs allege that the fraud is based on a lack
of informed consent about circumcisions, including health risks
and the overall acceptance of circumcision worldwide, and as a
result, Plaintiff Shingo Lavine suffered complications from the
procedure. Exhibit A. Similar to Ligouri, the complications from
the circumcision and the alleged misrepresentations that induced
Plaintiff Adam Lavine to consent to the circumcision cannot be
separated, and therefore “the claim is indeed one arising out of
an asserted lack of informed consent”. Liguori, supra, 191 N.J.
at 549 (2007).

“[I]nformed consent is a negligence concept predicated on
the duty of a physician to disclose to a patient information

that will enable him [or her] to evaluate knowledgeably the
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options available and the risks attendant upon each before
subjecting that patient to a course of treatment”. Starozytnyk
v. Reich, 377 N.J. Super. 111, 125 (App. Div. 2005); citing
Howard, supra, 172 N.J. 548. The case law unequivocally makes
clear that allegations of lack of informed consent in the
physician-patient setting are to be brought as negligence
claims, and re-packaging same aS a cause of action for fraud
cannot be maintained. Plaintiffs specifically allege that Dr.
Chait’s misrepresentations caused them to not be fully informed
about the potential risks associated with circumcision, and
subsequent to this misrepresentation, Plaintiff Shingo Lavine
suffered personal injuries as a result of the circumcision.
Exhibit A. Plaintiffs’ allegations are not rooted in fraud, but
rather medical negligence, and significantly, even a valid
medical negligence claim is time barred.

Pursuant to N.J.S.A. 2A:14-2(a), “[e]xcept as otherwise
provided by law, every action at law for an injury to the person
caused by the wrongful act, neglect or default of any person
within this State shall be commenced within two years next after
the cause of any such action shall have accrued”. N.J.S.A.
2A:14-2(a). Subsection (b) further provides that for injuries to
a minor, the period will extend two years after the individual’s
eighteenth birthday. N.J.S.A. 2A:14-2(b). Even this extended

time has expired. As such, Plaintiffs have failed to state a
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cause of action for which relief can be granted. Accordingly,
Plaintiffs’ Complaint against Defendant, Princeton Medical
Group, P.A. must be dismissed with prejudice.

II. Even if Plaintiffs were able to maintain causes of

action for fraud, same are time barred by the statute
of limitations.

 

 

Pursuant to N.J.S.A. 2A:14-1,

Every action at law for trespass to real property, for
any tortious injury to real or personal property, for
taking, detaining, or converting personal property,
for replevin of goods or chattels, for any tortious
injury to the rights of another not stated in sections
2A:14-2 and 2A:14-3 of this Title, or for recovery
upon a contractual claim or liability, express or
implied, not under seal, or upon an account other than
one which concerns the trade or merchandise between
merchant and merchant, their factors, agents and
servants, shall be commenced within 6 years next after
the cause of any such action shall have accrued.
N.J.S.A. 2A:14-1.

“The statutory language and well-established case law, make
clear that the six year statute of limitations period is to he
measured from the date a plaintiff's cause of action accrues”.

Homlin v. TRW, Inc., 330 N.J. Super. 30, 35 (App. Div. 2000).

 

“It is also clear that the date when a cause of action is deemed
to have accrued is the date upon which the right to institute
and maintain a suit first arises”. Id. (internal quotations
omitted).

The elements for a prima facie case for the tort of fraud
are: “(1) a material misrepresentation of a presently existing

or past fact; (2) knowledge or belief by the defendant of its
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falsity; (3) an intention that the other person rely on it; (4)
reasonable reliance thereon by the other person; and (5)
resulting damages”. Id. Accordingly, until a plaintiff has
suffered damages, he cannot maintain a suit for damages based on
fraud. Therefore, the cause of action will accrue only when
damage is inflicted. Id. 36. “[T]he limitation period will not
commence until sometime thereafter if the wronged party either
knew nor had reason to know that he or she had been wronged”.
Id. at 48.

Here, the damages alleged by Plaintiffs are the physical
complications that resulted from Plaintiff Shingo Lavine’s first
circumcision. Exhibit A. By Plaintiffs’ own admissions, they
personally became concerned that the circumcision was not
performed properly only about a month after the December 1997
circumcision. Id. As a result of their suspicions, Plaintiffs
saw Dr. Sharlin in January 1998, who told Plaintiffs he believed
that complications had arisen from the circumcision. Id. Later
in January 1998, Plaintiffs presented to Dr. Barone for further
examination. Id. As a result of this examination, Dr. Barone
diagnosed Plaintiff Shingo Lavine with phimosis and a buried
penis. Id. Shingo then underwent a second circumcision. Id. By
virtue of Dr. Barone’s medical diagnosis and corrective
procedure, Plaintiffs were expressly made aware that Dr. Chait’s

initial circumcision had complications which resulted in
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physical damage to Shingo, and necessitated a second, corrective
procedure.

Plaintiffs must only “be aware of an injury and a causal
relationship between the injury and an actor, but need not know
that the conduct is tortious or legally wrongful”. Southern

Cross Overseas Agencies, Inc. v. Wah Kwong Shipping Group Ltd.,

 

181 F.3d 410, 425 (3d Cir. 1999). Plaintiffs were not only aware
through their personal observations that there was an injury to
Shingo and a causal relationship to Dr. Chait’s circumcision,
but they were expressly informed of same by Drs. Sharlin and
Barone. Whether or not Plaintiffs understood this conduct to be
tortious or legally wrongful is irrelevant to the when the
accrual of the cause of action begins. Id.

Plaintiffs allege that they “only became truly aware” of
Shingo’s physical issues after speaking with a law professor who
is an expert on circumcision and speaks to ethical arguments
made about the topic. Exhibit A. While this conversation may
have informed Plaintiffs about controversy surrounding the topic
of circumcision, and various debates that have occurred, this is
not the legal standard required for tolling the statute of
limitations. The standard only requires Plaintiffs to be aware
of a causal relationship between Dr. Chait’s circumcision and
Shingo’s injury, which Plaintiffs’ Complaint concedes by virtue

of the conversations with Drs. Sharlin and Barone, as well as
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the second, corrective circumcision. Plaintiffs becoming aware
that circumcision is controversial has no bearing on the legal
standard.

Plaintiffs were made aware of the causal relationship
between the injury and the actor in January 1998, which
therefore gave them until January 2004 to file the pending fraud
claims. As such, even if this Court determined that Plaintiffs
alleged legally cognizable claims for fraud against Defendant,
Princeton Medical Group, P.A., same are time barred by the
statute of limitations, and therefore, dismissal of Plaintiffs’
Complaint is appropriate.

CONCLUSION

For the foregoing reasons, it is respectfully requested
that Defendant’s motion be granted and Plaintiffs’ Complaint
against Defendant, Princeton Medical Group, P.A., be dismissed
with prejudice.

LENOX, SOCEY, FORMIDONI, GIORDANO,
LANG, CARRIGG & CASEY, LLC.

Stephanie Y. Viola

Stephanie J. Viola, Esquire
Attorneys for Defendant, Princeton
Medical Group, P.A.

 

DATED: June 18, 2021
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(609) 896-2000
Attorney(s) for Defendant, Princeton Medical Group, P.A.

 

SHINGO LAVINE, ADAM LAVINE, AND SUPERIOR COURT OF NEW JERSEY
ATKO LAVINE, LAW DIVISION — MERCER COUNTY
DOCKET NO.: MER-L-272-21

Plaintiffs,
CIVIL ACTION
Vv.

PRINCETON MEDICAL GROUP, P.A. PROOF OF SERVICE
AND AMERICAN ACADEMY OF
PEDIATRICS INC.,

Defendants.

 

 

1.I am employed by the law firm of LENOX, SOCEY, FORMIDONI,
GIORDANO, LANG, CARRIGG & CASEY, attorneys for Defendant,
Princeton Medical Group, P.A., in the above-captioned action.

2.On June 18, 2021, copies of the Notice of Motion to Dismiss,
Certification of Counsel, Proposed Order, and Legal Brief,
were served upon the following via e-courts:

Andrew Delaney
6 South Street, Suite 203
Morristown, NJ 07960
3.1 certify that the foregoing statements made by me are true.

IT am aware that if any of the foregoing statements made by me

are willfully false, I am subject to punishment.
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 2 of 2 Trans ID: LCV20211470242
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Stephanie Y, Viola

Stephanie J. Viola

 

DATED: June 18, 2021
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EXHIBIT A
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SUMMONS
Attorney(s) Andrew DeLaney Superi or Court of
Office Address § South Street, Suite 203
Town, State, Zip Code Morristown, NI 07960 New Jersey
Mercer | ~Pounty
Telephone Number 973-606-6090 Civil Division
Attomey(s) for Plaintiff Andrew DeLancy Docket No: MER-L-000272-21

 

Shingo Lavine, Adam Lavine,

Aiko Lavine — J 2LS5S2
Pee CIVIL ACTION
vs, SUMMONS

American Academy of Pediatrics,

 

 

Princeton Medical Group, P.A,
Defendant(s)

 

From The State of New Jersey To The Defendant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summions states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of cach deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and onlinc at
http://www.njcourts.eov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,

P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense,

If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

If you cannot afford an attorney, you may call (he Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attomey and are
not eligible for free Icgal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at

ttp://www.nicourts.cov/forms/1015 wref.
gs] |rythethe Sreahy
Clerk of the Superior Court

 

DATED: 02/16/2021
Name of Defendant to Be Served: Princeton Medical Group, P.A.

 

Address of Defendant to Be Served: 419 Harrison Street, Suite 203, Princeton, NJ

 

Revised 11/17/2014, CN 10792-Enalish (Anpendix XTI-A)
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Adam Lavine, and Aiko Lavine

Attorney ID: 095232013

 

SHINGO LAVINE, ADAM LAVINE, AND | SUPERIOR COURT OF NEW JERSEY

AIKO LAVINE, LAW DIVISION: MERCER COUNTY
Plaintiffs, DOCKET NO.:
Civil Action

VS.

PRINCETON MEDICAL GROUP, P.A. AND
AMERICAN ACADEMY OF PEDIATRICS
INC.,

COMPLAINT AND JURY DEMAND

Defendants

 

 

 

Plaintiffs, Shingo Lavine, Adam Lavine, and Aiko Lavine, by way of Complaint against

the above-named defendants, say:
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PARTIES

1. Plaintiff Shingo Lavine (“Shingo”) is a natural person who is a citizen of the State of Rhode
Island.

2, Plaintiffs Adam Lavine (“Adam”) and Aiko Lavine (“Aiko”) are natural persons who reside in

and are citizens of the State of California. They are the natural parents of Plaintiff Shingo Lavine.

3, Defendant Princeton Medical Group, P.A. (“Princeton”) is a New Jersey professional
association. It is subject to the jurisdiction of this Court and may be served with process by serving
its registered agent Joan Hagadron at 419 North Harrison Street, Suite 203, Princeton, NJ 08540.

It is subject to the jurisdiction of this Court and venue is properly laid herein.

4. Defendant American Academy of Pediatrics, Inc. (“AAP”) is an Illinois corporation registered
to do business in the State of New Jersey. It is subject to the jurisdiction of this Court and may be
served with process by serving its registered agent, Corporation Service Company, Princeton
South Corporate Center, 100 Charles Ewing Blvd., Suite 160, Ewing, NJ 08628, It is subject to

the jurisdiction of this Court and venue is properly laid herein,

FACTS

 

5, In December,1997, Shingo Lavine was born to Adam and Aiko Lavine at Princeton Medical

Center in Plainsboro, Mercer County, New Jersey.

6, On or about December 18, 1997, Dr. Jeffrey L, Chait, M.D., the obstetrician who delivered him,
an employee and agent of Defendant Princeton Medical Group, P.A., circumcised Shingo Lavine.
Defendant Princeton thereafter billed Adam and Aiko Lavine or their insurer or both for the

circumcision and received money for Dr. Chait’s performance of it.

7. Defendant Princeton is liable for the torts of its employees and agents, including Dr. Chait,

under the doctrine of respondeat superior.
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8. Shingo’s mother, Aiko, is of Japanese heritage. Japan is not a circumcising society, and until
she came to the United States and eventually married Adam, she had never heard of it. After
Shingo’s birth and before the circumcision, Aiko was incapacitated due to a difficult 36-hour labor
on medications and a Caesarean section. Just prior to the circumcision she was being administered

morphine and Percocet® (brand of oxycodone and acetaminophen) and other medications.

9, Prior to the circumcision Dr. Chait did not ask Aiko to give her permission to have her son

circumcised, and she did not give permission for the circumcision.

10, After Shingo was born, Dr. Chait solicited Adam’s verbal consent to have Shingo circumcised,
Dr, Chait informed him that the American Academy of Pediatrics had issued guidelines about
circumcision showing that circumcision reduces the incidence of urinary tract infections, penile
cancer, and sexually transmitted diseases including HIV. Dr. Chait portrayed circumcision as a
minor, safe, and harmless procedure and as a routine and normal part of childbirth, and he

portrayed parental permission as expected and as a formality.

11. Adam does not recall signing a form giving consent to have Dr. Chait circumcise his son
Shingo. If wording about consenting to circumcision was in a hospital admission form, it was not
brought to his attention, and he did not see it during the rush of getting his wife Aiko admitted to
the hospital to give birth, If Adam did give written permission, he did so in reliance upon the
representations made, expressly, impliedly, and by omission, by Dr. Chait and the AAP,

enumerated in this Complaint, which Adam had no reason to doubt and did not doubt,

12. Dr. Chait did not disclose to Adam and Aiko, and they were completely unaware, that
circumcision was a highly controversial topic, nor did he convey to them any opinion other than
that circumcision was good for health. He did not disclose to them that circumcision is surgery;
that it is painful; that it risks many complications and can be fatal; that men may resent haying
been circumcised at birth without their consent and when they were unable to prevent it and that
it can cause psychological problems; he did not disclose that the foreskin of the penis is highly
erogenous; and he did not disclose the functions of the foreskin. He did not disclose to them the
risk of any complications or the common occurrence of loss of shaft skin and consequent tight

erections with hair on the shaft of the penis.
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13, After the circumcision, Dr. Chait seemed distinctly less confident than he had been before. He
expressed concern about the circumcision to Shingo’s parents and told them that they would “have
to keep an eye on it” and let him know if there were any problems with Shingo’s penis. This was
a surprising and concerning reaction to what had been presented as a routine and simple procedure.
However, Dr. Chait did not disclose exactly what his concerns were and he did not disclose that
too much shaft skin had been removed. Adam and Aiko observed that after about one month,
Shingo’s penis had not healed and looked unusual to them, and they became concemed the

circumcision had not been properly performed..

14. Sometime between January 10-15, 1998, Adam and Aiko took Shingo to Shingo’s pediatrician,
Dr. David Sharlin of Delaware Valley Pediatrics, with concerns about Shingo’s penis. After
examining Shingo, Dr. Sharlin told them that he believed that complications had arisen from
Shingo’s circumcision, namely that not enough foreskin had been removed. He recommended a
follow-up with Dr. Joseph Barone, Chief of the Section of Pediatric Urology at Robert Wood
Johnson University Hospital, New Brunswick, New Jersey.

15, On January 21, 1998, Adam and Aiko presented Shingo to Dr. Barone for examination. Dr.
Barone observed biood and scarring on Shingo Lavine’s penis. He cleaned the penis, then
diagnosed Shingo as suffering from phimosis and a buried penis. He recommended what he called
a “second circumcision.” Dr. Barone presented the “second circumcision” as if it were also routine.
Thereafter, Dr. Barone performed a second circumcision surgery on Shingo. He wrote a letter that
day stating that, “Shingo should do very well with the circumcision.” In fact, after Dr. Barone’s
surgery, Shingo did not “do very well” at all. Unknown to his parents until recently, Shingo’s
penis had insufficient shaft skin coverage so that his erections were and are to this day too tight
and pull pubic skin onto the shaft. In addition, Shingo had and has pubic hair bearing skin down
io the circumcision scar line, which is unsightly, and which interferes with normal sexual

functioning,

16. When Shingo reached adolescence, he suffered from physical complications caused by the
circumcisions, including painful erections, meatal stenosis (narrowing of the urethral opening),

scrotal webbing, and hypersensitivity of the glans.

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17. By June 2020, Shingo experienced serious angst and anger that physicians had circumcised
him, twice, and had caused his injuries, when he had been in perfect health at birth, did not need
the operation, would not have chosen it for himself, and was powerless to prevent it. He was and

is also unhappy with the unsightly appearance of his penis.

18. In June 2020, Shingo discovered that although it is a common sentiment in the United States
is that circumcision is normal and good for health, and that one would have utterly no reason for
experiencing the feelings that he has, he is by no means alone: many circumcised men in the U.S.
share the same anger and profound sense of loss as Shingo, and many, like him, suffer from various

physical and psychological complications.

19. On or about June 15, 2020, Shingo became involved with Foregen, a medical organization
devoted to regenerating foreskin, specifically the specialized structures including nerve endings

that are removed or destroyed during circumcision.

20. On or about June 15, 2020, Shingo began partial restoration of his foreskin, a highly intensive
daily routine to attempt to recover the denuded glans by stretching the loose skin of the penile
shaft, although circumcision is irreversible surgery, and the specialized erotogenic nerves are lost
forever when it is performed. Upon information and belief, more than 60,000 men in the United
States currently practice foreskin restoration, It requires wearing weights attached to the penis and
pulling for 3-4 hours per day for 5-10 years, which is very uncomfortable and time consuming.
Shingo has spent more than 700 hours over the course of almost 1,000 sessions as part of the

process to partially “restore” his foreskin.

21. On July 29, 2020, Shingo began psychotherapy to try to cope with the severe emotional distress

he feels about his circumcision, but to date it has not diminished his distress.

DELAYED DISCOVERY THAT SHINGO, ADAM, AND AIKO WERE DEFRAUDED
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22. Notwithstanding the physical issues that Shingo started becoming aware of in adolescence,
none of the Lavines had any reason to question the circumcisions or the result, given the

pervasiveness of the procedure in American culture.

23. The Lavines only became truly aware of how the physical issues Shingo was experiencing
related to the circumcisions when the Lavines spoke with the law professor Peter W. Adler, an
expert on circumcision and the law, on September 25, 2020. Professor Adler informed them that
the foreskin is a natural body part and the most sensitive part of the penis, men value it, and
physicians in most countries outside the United States leave it alone. Unnecessary surgery on a
child violates the ethical and legal right of boys and the men they become to bodily integrity and
self-determination, Circumcision, which began as a Sacrificial religious ritual and painful rite of
passage, is violence and genital mutilation, the opposite of medicine, and a fraud when performed
by physicians and hospitals in the U.S., as explained in two law review articles.’ First, physicians
target newbom boys unable to refuse, mothers who are incapacitated, give fathers only minutes to
decide, and badger parents who say no until they consent. This constitutes unfair, deceptive, and
fraudulent misconduct, Second, physicians and their trade association, the American Academy of
Pediatrics, make knowingly false and fraudulent medical claims, They portray circumcision as a
normal, simple, safe, and harmless medical procedure, when they know that like any surgery it is
very painful, risks many complications, can be fatal, and can cause psychological harm. They also
use fear of urinary tract infections (UTIs), penile cancer, and sexually transmitted infections,
including HIV, to sell circumcision to parents, when the treatment for UTIs is antibiotics, boys are
not at risk of adult diseases, and those diseases can be prevented easily and more effectively
without loss of the foreskin and the circumcision’s attendant risks; and they use false diagnoses
such as phimosis of a tight foreskin, which is normal in the newborn. Parental consent is therefore.
not fully informed, it is legally invalid, and the operation is a battery. Third, they and the AAP
make the false legal claims that physicians haye the right to operate on a healthy child and that
parents have the right to elect circumcision, when circumcision violates the child’s right to bodily
integrity, and the child's rights supersede the parents’ rights. Professor Adler told the Lavines that

 

| Matthew R. Giannetti, Circumcision and the American Academy of Pediatrics: Should Scientific Misconduct Result
in Trade Association Liability, 85 lowa L. Rev. 1507 (2000) at <http://www.cirp.ore/library/tegal/giannetti/> and
Peter W. Adler, Robert Van Howe, Felix Daase, and Travis Wisdom, /s Cireumeision a Fraud?, Cornell J, L, &
Public Policy (Vol 30 No, | Fall 2020) at <https;//www.lawschool.cornell,edu/research/JLPP/index.cfm>,

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they had legal claims against the physician, medical group, and the AAP for battery, breach of
fiduciary duty and hence constructive fraud (where intent to defraud is presumed, even if it is

absent, to prevent unfairness).

24. The Lavines were dumbfounded to learn this, as this was the first time they had heard the
normality of circumcision (which had been adopted into their worldview, as it has been for most
of the American public) and the physician’s right to perform it had been challenged. They realized
that what Professor Adler described is exactly what had actually happened to them when Shingo
was born, as detailed in this Complaint. Additionally, the Lavines were stunned to realize that the
United States has one of the highest rates of circumcision in the developed world and that the AAP

guidelines are opposite to the recommendations of most developed nations’ medical experts.

1989 AAP GUIDELINES ON CIRCUMCISION

 

25, The AAP is an organization of physicians who specialize in pediatrics, the care of children
from birth to the age of 21. The AAP is not exclusively organized for charitable or educational
purposes; rather it is also organized to protect the economic welfare of its members, who practice
medicine in part for a profit. The AAP actively lobbies federal and state legislatures for laws
beneficial to its members. It claims to lead the pediatric medicine community in setting standards
of practice and recommendations for practice. It voluntarily issues advisory reports,
recommendations, and guidelines for both the medical profession as well as for the general public,
including the Plaintiffs herein, upon which both the profession and the general public are expected

to, and do, rely.

26. The AAP owes a duty to the general public, including the Plaintiffs herein, to tell the truth, the
whole truth, and nothing but the truth when issuing reports, policy statements, and guidelines for

medical care and procedures.

27. The AAP owes a duty to the general public, including the Plaintiffs herem, to refrain from
failing to disclose all relevants facts and considerations when issuing reports, recommendations,

and guidelines,
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28. By words and conduct the AAP invites other medical associations such as the Ameircan
College of Obstetricians and Gynecologists, obstericians and gynecologists, pediatricians, other
physicians, and the general public to rely upon the AAP’s reports, recommendations and

guidelines.

29. In 1971 the AAP Committee on the Fetus and Newborn issued Standards and
Recommendations of Hospital Care of Newborn Infants, Init, the AAP stated the truth that, “ there
are no valid indications for circumcision in the neonatal period." In 1975 an Ad Hoc Task Force
of that committee found no basis for changing that statement, while stating that "there is no

absolute medical indication for routine circumcison of the newborn."

30. In 1980, Springer Publishing Company, a major medical publisher in New York, published
the 197 page heavily footnoted book, Circumcision: An American Health Fallacy by Edward
Wallerstein, a medical writer. The thesis of the book is that neonatal circumcision is needless,
damaging, and not medically justified. At its conclusion Wallerstein wrote: "The medical
profession bears responsibility for the introduction of prophylactic circumcision without scientific
basis in the past and for its continued use and rationalization without scientific basis in the present.
The profession seems to accept circumcision as a ‘national cultural triat' as much as do lay people.
With evidence at hand to disprove the prophylactic benefits of the surgery, the medical profession
has the responsibility to discourage this practice. The pretense of neutrality is a negative stance."
His final paragraph stated, "Today circumcision is a solution in search of a problem. The
operation, as prophylaxis, has no place in a rational society. The final conclusion to be drawn
is that routine infant health cireumcision is archaic, useless, potentially dangerous, and

therefore should cease." (Emphasis added),

31. In 1984 the AAP published a pamphlet for the parents of newborns entitled, "Care of the
Uncircurncised Penis.” It contained the following paragraph: "The Function of the Foreskin:
The glans at birth is delicate and easily irritated by urine and feces. The foreskin shields the glans;
with citcumcision, this protection is lost. In such cases, the glans and especially the urinary
opening (meatus) may become irritated or infected, causing ulcers, meatitis (inflammation of the

meatus), and meatal stenosis (a narrowing of the urinary opening), Such problems virtually never
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ocour in uncircumcised penises, The foreskin protects the glans throughout life." By 1994, the
AAP had removed that paragraph from the most recent edition of its pamphlet.

32. In 1984 Trudie London on behalf of her son Adam London, to whose circumcision shortly
after birth she had consented, filed a lawsuit in Marin County, California Superior Court, Docket
No, 118799, against his circumciser Mark Glasser, M.D. and Kaiser Foundation Hospitals and The
Permanente Medical Group, in which she claimed that the circumcision constituted common law
battery, willful cruelty, unjustifiable infliction of pain, child abuse, kidnapping, false
imprisonment, and mayhem. In essence, she contended that parental consent for a medically
unnecessary circumcision was legally invalid and that circumcision itself constituted battery and
violated several California statutes. Although the case was not successful, it received significant
publicity, including an article in the then-influential Time Magazine. This suit alarmed the medical
profession, including the defendant Glasser in that lawsuit, as well as his friend and acquaintance

Edgar J. Schoen, M.D., a pediatric endocronolgist and member of the AAP.

33. In Volume 23, No. 3 (1984-1985) of the Journal of Family Law, published by the University
of Louisville School of Law, there appeared an article by William E. Brigman, an Assistant
Professor, entitled “Circumcision as Child Abuse: The Legal and Constitutional Issues," In it,
Professor Brigman contended, "Since circumcision is not medically warranted, has no significant
physiological benefits, is painful because it is performed without anesthesia and leaves a wound
in which urinary salts burn, carries significant risk of surgical complications, including death, and
deforms the penis, it would seem that as a nonaccidental physical injury, it is properly included in
the definition of child abuse." He opined that, “Suits for damages against surgeons, hospitals, and
conceivably parents are possible. ..," He suggested that, “The most promising approach would

seem to be a civil rights class action against hospitals... .".

34, Growing opposition to neonatal circumcision alarmed the medical profession, which was
increasingly afraid of lawsuits. The November 15-30, 1986 issue of Ob-Gyn News carried an
article entitled, "See Expanding Liability Risks In Circumcision." It cited another California case
arising from a botched circumcision that contended that, “the procedure violated the boy's
constitutional right to privacy, safety,and happiness" and also claimed that the circumcision

constituted a battery. Charles Bonner, the plaintiff's attorney, claimed, according to the article,

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"The boy [7 weeks old at the time] did not himself consent to the procedure, and under California

law parents have no ability to consent to a medically unnecessary surgery... .

35, In May 1985 a pediatrician, Thomas Wiswell, M.D., published an article in the AAP’s journal
Pediatrics that suggested that circumcision might reduce the number of urinary tract infections in
boys. Almost immediately, this was latched onto by circumcision proponents such as urologist
Aaron Fink, M.D., whose letter to Pediatrics stated, "I suspect that similar studies will be repeated
elsewhere and, if confirmed, become an important reference to justify a medical indication for a
newborn circumcision. It presumably might even invalidate litigation based on removal of the
natural protection afforded by the foreskin! as well as “by reason of wrongful and malicious acts’

performed by medical as well as mohel’ (ritual) circumcisers."

36, In 1987 Edgar J. Schoen, M.D., a friend of Mark Glasser, M.D., who had been sued in the
London case, published a poem in the American Journal of Diseases of Children, entitled "Ode to

the Circumcised Male” in which he derided those opposed to circumcision. (See Exhibit A), After

 

noting that "third-party payers are increasiningly refusing to pay for the procedure," Schoen set
forth the poem that said, "If you’re the son of a Berkeley professor, your genital skin will be
greater, not lesser: styled the non-circumcised state as ,genital chic’; and ended with the consoling
line for the circumcised, “Just hope that one day, you can say with a smile that your glans ain’t

passé it will rise up in style."

37, In 1988 Aaron Fink, M.D, published a book entitled CIRCUMCISION: A Parent's Decision
for Life, In it he alleged that circumcision had potential medical benefits and he derided the idea

that loss of sensation occurs because of circumcision.

38. In 1988 or 1989 Edgar J. Schoen, M.D. volunteered to chair a Task Force of the AAP on
Circumcision. Dr. Schoen was a zealous proponent of circumcision whose poem suggested that
he had undisclosed religious and personal motives for advocating circumcision that went beyond
medicine. Dr. Schoen additionally expressed alarm that but for recent evidence that circumcision
potentially decreased the rate of urinary tract infections, third party insurance payers would stop

covering it, and “the anti-circumcision tide” would prevail.
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39. The Task Force issued a “Report of the Task Force on Circumcision (RE9148),” which was
published in the AAP’s journal Pediatrics in August 1989 (“1989 Guidelines”), (See Exhibit B).
Those were the AAP guidelines regarding circumcision in place at the time of Shingo’s birth and

subsequent circumcisions.

40. The 1989 Guidelines did not contain any information on the functions of the foreskin, the tissue
that is removed by circumcision, even though the AAP in its 1984 pamphlet for parents had
explained some of its functions and thus was aware of them. (See Exhibit C), This section was
removed in its 1994 pamphlet. (See Exhibit D),

41. The AAP issued its 1989 Guidelines specifically to protect the medical profession in general,
and pediatricians in particular, from legal liability for performing unnecessary, risky, debilitating,
damaging surgery, circumcision, on the penises of minor boys, and to protect the pocketbooks of

AAP members, many of whom perform neonatal circumcision for money.

42, The 1989 AAP Policy Statement contained numerous intentional misrepresentations and

omissions” as detailed in Count III of this Complaint.

43. As much of its justification for promulgating its 1989 Guidelines, the AAP claims that boys
who have not been circumcised show an increased rate of urinary tract infections. The AAP itself
stated that the studies may have methodologic flaws; UTIs can be treated with antibiotics; and Dr.
Thomas Wiswell, the doctor responsible for the studies, has stated that there was tremendous

financial incentive for doctors to continue performing circumcisions routinely on neonatal boys.

44. The 1989 Guidelines did not disclose the risk of parental anger and regret, despite the fact that
the London case and the increasing opposition to circumcision as noted above had alerted the AAP
to that very real risk. Adam and Aiko are angry that defendants did not fully inform them about
circumcision, in which case they would have stopped Dr. Chait and the hospital from performing

the unnecessary operation, It has created tremendous hardship for Adam and Aiko Lavine to try to

 

2 See Matthew R. Giannetti. Circumcision and the American Academy of Pediatrics: Should Scientific Misconduct
Result in Trade Association Liability, 85 lowa L, Rev. 1507 (2000) at <htto://www.cirp.org/library/legal/giannetti/>.

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come to terms with the strained relationship with their son caused by the first circumcision surgery

and subsequent revision surgery.

COUNT I
(Intentional Fraud)
Princeton Medical Group, P.A.

45, Plaintiffs repeat and re-allege the prior facts and allegations contained in Paragraphs | through
44 as if set forth at length herein.

46, Dr. David Chait was acting as an employee and agent of Princeton Medical Group, P.A. and
within the course and scope of his employment relationship with it when he solicited permission
to circumcise Shingo and when he performed the circumcision. At all times relevant hereto Dr.
Chait, as a physician, was in a fiduciary relationship with the Plaintiffs and owed them a duty of
care as a fiduciary to act with the utmost good faith in his dealings with them.

47. Dr, Chait, acting within the course and scope of his employment and agency with Princeton
Medical Group, P.A., failed to act with the utmost good faith and intentionally defrauded Adam
and Aiko Lavine into permitting the circumcision of their newborn son Shingo by the following
unfair and deceptive misconduct, misrepresentations, and omissions; which Dr. Chait intended the
Plaintiffs Adam and Aiko Lavine rely upon; which they did rely upon; and which resulted in the

damages to them and to Shingo Lavine that are complained of herein,

e Fraudulent conduct in the hospital, including, without limitation: not obtaining
written parental permission, or hiding the permission form in a hospital admission
form; targeting a newborn baby boy, Shingo Lavine, who was unable to refuse;
targeting Aiko Lavine and not giving her the opportunity to participate when she
was legally incapacitated and would have refused; and giving Adam Lavine only a
few minutes to make the circumcision decision, an unfair high-pressure sales tactic

that constituted coercion and duress.

* Making false medical claims (express, implied, or by omission), including without

limitation: not disclosing that physicians in most countries leave boys genitally

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intact and that circumcision is controversial; falsely portraying circumcision to the
Lavine parents as a normal and routine part of childbirth; not disclosing that the
foreskin is a natural body part, highly erogenous, and functional, and that men value
it: not disclosing that circumcision is unnecessary and not medically indicated; not
disclosing that it is irreversible surgery; claiming that circumcision has potential
medical benefits when it does not benefit most boys or men at all, when any benefits
can be achieved without it, and when it did not benefit Shingo Lavine; mentioning
urinary tract infections as a reason to circumcise when UTIs can be easily treated
with antibiotics; using the scare tactic of mentioning prevention of penile cancer
and STDs including HIV, when circumcision does not prevent them, boys are not
at risk of those diseases, and they can be easily prevented without loss of the
foreskin; not disclosing that circumcision is extremely painful, and circumcising
Shingo Lavine without any pain relief or without adequate pain relief during and
after the surgery; not disclosing that circumcision risks more than 50 minor and
serious complications including the physical injuries that Shingo Lavine suffers
from; not disclosing that circumcision can be fatal; not disclosing the risk of
psychological harm that Shingo Lavine suffered and suffers from; not disclosing
that circumcision could impair Aiko and Adam Lavine’s relationship with their son

and that the Lavine parents might come to regret the circumcision.

® Making the implied false claim that it is ethical and legal for physicians to perform
irreversible unnecessary genital surgery on a healthy infant, and to solicit parental

consent to do so.

48. But for the foregoing misconduct, misrepresentations, and omissions, Adam Lavine would not
have given permission to have his son circumcised. If fully informed about the pain, risks, and
harms of circumcision, both Adam Lavine and Aiko Lavine would have told Dr. Chait not to

perform the unnecessary operation.

49. By the foregoing misconduct, misrepresentations, and omissions, Dr. Chait intentionally
defrauded the Plaintiffs Adam Lavine, Aiko Lavine, to their damage and to the damage of Shingo
Lavine and Princeton Medical Group, P.A. is liable to them for said fraud pursuant to the doctrines

of agency and respondeat superior.
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WHEREFORE, Plaintiffs demand judgment that the defendant Princeton Medical Group, P.A.,
acting by and through its employee and agent Dr. Chait, intentionally defrauded the Plaintiffs, and
they pray for the relief requested below.

COUNT Il
(Constructive Fraud)
Princeton Medical Group, P.A.

50. Plaintiffs repeat and re-allege the prior facts and allegations contained in Paragraphs 1 through
49 as if set forth at length herein.

51, When a physician violates the trust that a patient (here Shingo Lavine) and/or those
representing him (here Adam and Aiko Lavine) places in the physician in the slightest way by any
unfair or wrongful act—including without limitation by fraud, breach of fiduciary duty, mistake,
undue influence, or the physician unjustly enriches himself—a cause of action lies for constructive

fraud, where fraud is presumed even if intent to defraud is absent.

52. The misconduct, misrepresentations, and omissions described in this Complaint and in Count
I constitute unfair and wrongful acts, including, without limitation, unfairness, fraudulent conduct,
fraudulent medical claims, fraudulent legal claims, breach of fiduciary duty, mistake, coercion,
duress, undue influence; and Dr. Chait and Princeton Medical Group, P.A. unjustly enriched
themselves at the expense of their healthy “patient” Shingo Lavine, Dr. Chait thereby committed
constructive fraud against the Plaintiffs, which damaged them. Princeton Medical Group, P.A. is
liable to them for said constructive fraud pursuant to the doctrines of agency and respondeat

superior.

WHEREFORE, Plaintiffs demand judgment that Princeton Medical Group, P.A. committed
constructive fraud against them, and they pray for the relief requested below.

COUNT It
(Intentional Fraud)

The American Academy of Pediatrics

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53, Plaintiffs repeat and re-allege the prior facts and allegations contained in Paragraphs | through
52 as if set forth at length herein.

54, As set forth above, Dr, Chait referenced the AAP’s circumcision policy statement then in effect
(the “1989 Guidelines”) when he solicited Adam Lavine’s permission to circumcise Shingo Lavine
and when he portrayed circumcision as routine, as medicine, and as a parental right,

55. Adam Lavine, who knew nothing about medicine or medical aspects of circumcision—and
who was representing his newborn son and his incapacitated wife at the time—relied upon Dr,
Chait’s reference to those AAP guidelines in support of circumcision when he consented to the
circumcision:

56. The AAP 1989 Guidelines contain numerous false and fraudulent representations and
omissions as set forth herein; the AAP knew that they were false or made them with reckless
disregard of their falsity; the AAP intended that physicians, here Dr. Chait, and parents offered
circumcision representing boys, here Adam Lavine representing Shingo and Aiko Lavine, rely
upon them; the Lavines did rely upon them; damages resulted from such reliance; and the AAP
thereby defrauded the Plaintiffs.

57. Undisclosed Financial Bias. The 1989 AAP Guidelines fail to disclose that the AAP is not only
a medical association but also a trade association representing the financial interest of its members.
The AAP failed to disclose the financial bias of at least some of the committee membets in
perpetuating circumcision for financial reasons, and that at least some of the committee members
were not neutral.

58. Undisclosed Religious Bias. Upon information and belief, one or more members of the
committee that wrote the 1989 Guidelines were Jewish, including Dr. Schoen. Circumcision Is a
sacred religious rite among Jews. The AAP failed to disclose the religious bias of at least one and
perhaps more of its committee members in favor of perpetuating circumcision, and he or they were
not neutral.

59, Undisclosed Cultural Bias. The 1989 AAP Guidelines fail to disclose that the U.S. is an outlier
among physicians worldwide in circumcising healthy boys, and that its authors were culturally
biased in favor of circumcision and not neutral.

60. Not Common or Routine or Medicine. The 1989 Guidelines state that most male infants born
in this country are circumcised during in the newborn period, implying that it is a routine part of
the practice of medicine. This fails to disclose that non-therapeutic circumcision by physicians is
uncommon outside the U.S.; that it is unlike anything else in medicine worldwide as physicians
do not solicit parental permission to surgically remove other healthy parts of their child’s body and
take orders from parents to do so; and that non-therapeutic circumcision, or circumcision that is
not needed to treat a medical condition, is violence, the opposite of medicine.

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61. Undisclosed Controversy. The 1989 AAP Guidelines fail to disclose that circumcision has been
controversial for years, and they fail to disclose that there is widespread opposition to the practice
on medical, ethics, and legal grounds inside and outside the U.S.

62, Unethical. The 1989 AAP Guidelines falsely claim by omission that circumcision is ethical!
when it violates numerous provisions of the AMA Code of Medical Ethics, including the
prohibition against unnecessary surgery, and the general rules of medical ethics: autonomy; non-
maleficence (“First, Do No Harm”); beneficence (“do good); proportionality; and justice or
fairness.

63. Unlawful and a Crime. The 1989 AAP Guidelines falsely claim by omission that it is legal for
physicians to circumcise or perform unnecessary genital surgery on healthy boys when it violates
a child’s right to bodily integrity and self-determination, constitutes a battery, which is a tort and
a crime, and as William E, Brigman showed in his 1984 law review article, it is statutory criminal
child abuse in every U.S. state,’ including New Jersey.

64, Scientific Misconduct. The 1989 AAP Guidelines did not follow accepted scientific methods;
its pro-circumcision conclusions were not scientifically defensible; and its authors engaged in
scientific misconduct.

65. Pain Understated, The 1989 AAP Guidelines state, “Infants undergoing circumcision without
anesthesia demonstrate physiologic responses suggesting that they are experiencing pain.” This
understates pain as circumcision is one of the most painful procedures in neonatal medicine. The
AAP states that behavioral changes arising from pain are transient, not disclosing that pain
continues for many days after the circumcision.

66, No Anesthetics. The AAP knew that circumcision is extremely painful and that the pain
continues after the operation, but it did not even recommend that anesthesia be used to try to lessen
the pain during and after the operation.

67. False Claim that Circumcision is Safe. The AAP claimed in 1989 that “[c]ireumcision is a safe
surgical procedure if performed carefully by a trained, experienced operator using strict aseptic
technique.” The AAP knows that circumcision is not safe. It risks many complications, The 1989
Guidelines admit that the “exact incidence of postoperative complications is unknown,” while
deceptively suggesting that “the rate is low.” This ignores the fact that a significant part of the
surgical practice of pediatric urologists is made up of treating circumcision complications or
sequelae, a fact that had to be known to the prominent urologist on the committee, Frank Hinman,
Jr., M.D., author of a major text on pediatric urologic surgery.

 

2 William E. Brigman. Circumcision as Child Abuse: The Legal and Constitutional Issues, 23 J Fam Law 337
(1985),

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68. Failure to Disclose Lack of Training. The AAP failed to disclose that many physicians who
perform circumcisions are not well trained, even though at least one member of the committee had
to have known this to be so,

69. Undisclosed and Understated Complications. (a) The AAP failed to disclose most of the
complications of circumcision--there are more than 50—or the complications that Shingo Lavine
suffers from including painful erections, scrotal webbing, hypersensitivity of the glans, and
unsatisfactory cosmetic appearance. (b) The AAP understated the rate of complications at 0.2%
and 0.6% when according to one study the rate is as high as 13%. (c) The AAP failed to take into
account complications that occur later in childhood and in adulthood. (d) The AAP did not disclose
severe complications such as the risk of cutting off all or part of the glans penis. (e) The AAP
misrepresented the rate of severe complications, which is as high as 2-4%, (f) The AAP stated,
“The exact incidence of postoperative complications is unknown.” Thus, the AAP knew that it did
not have enough data to conclude that circumcision is safe in 1989. (g) The most common
complication following male circumcision, meatal stenosis, which is a narrowing of the urethral
opening that interferes with micturition, is seen in 5% to 20% of boys following circumcision, and
happened to Shingo Lavine, is only addressed in passing: “There is no evidence that meatitis leads
to stenosis of the urethral meatus,”

70. Risks Unknown. The 1989 Guidelines advise physicians to inform parents of the risks, but this
is impossible as the Guidelines state, “The exact incidence of postoperative complications is
unknown.”

71, Not Harmless. The 1989 AAP guidelines imply by omission that circumcision is harmless
when properly performed. The AAP did not discuss the anatomy and physiology of the foreskin
of the penis, however, the body part being irreversibly amputated. The AAP did not disclose that
the foreskin is highly erogenous, as has been known since ancient times; that its inner lining is a
moist and mobile mucous membrane, which reduces friction during masturbation and sexual
intercourse, The AAP did not disclose that men prize the foreskin and that men who have one
rarely volunteer to part with it. Thus, the AAP assigned no value to the foreskin that circumcision
irreversibly amputates, even though males do, and thereby impliedly told parents asked to make
the circumeision decision, here the Lavines, relying on the AAP’s guidelines, that the foreskin is
worthless.

72, No Disclosure of the Risk of Psychological Harm. The AAP did not disclose that boys and
men may be angry to have been circumcised and that circumcision can cause psychological harm.

73, No Disclosure of the Risk of Parental Regret. The AAP did not disclose that boys and men
may be angry that their parents gave permission to have them circumcised, which they would not
have chosen for themselves; that this may impair the relationship between parents and son; and
that parents may regret having given permission.

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74, Thus, the AAP 1989 Guidelines promoted circumcision by falsely portraying it as medicine,
and as the simple, safe, and painless snip of a worthless piece of skin, Although the American
public often refers to circumcision as a “snip,” the AAP did not correct the public’s false belief in
the Guidelines.

75. False Claims About UTIs. The AAP promoted circumcision in its 1989 Guidelines largely
based on the claim that it reduces the risk of urinary tract infections, But the AAP knew that “these
studies [about UTIs] may have methodologic flaws.” The AAP failed to state the simple fact that
UTIs in boys can easily be treated with antibiotics, as they are in girls. They failed to point out
that girls have many times more UTIs than boys, circumcised or not,

76. False Claims About Penile Cancer, Penile cancer is a rare disease that occurs in old age. Boys
are not at tisk of it. The AAP also knew, as it stated in 1975, that, “optimal hygiene confers as
much or nearly as much protection against penile cancer as circumcision,” and a “great deal of
unnecessary surgery, With attendant complications would have to be done if circumcision were to
be used as prophylaxis against [penile cancer]”. The possible reduction in penile cancer is not a
valid medical reason to circumcise, so the Guidelines should have not discussed them as a reason
to elect circumcision, in which case Dr. Chait would not have advanced penile cancer citing the
AAP Guidelines as a reason to do so, The AAP deviated without valid scientific evidence from its
1975 AAP Policy Statement on circumcision, which found no solid evidence for using
circurneision to prevent penile cancer, The mention of penile cancer is a scare tactic designed to
sell circumcision.

77. False Claims About STDs. The AAP truthfully stated in 1975 that, “evidence regarding
the relationship of circumcision to sexually transmitted diseases is conflicting,” Similarly, the
AAP 1989 Guidelines state, “Evidence regarding the relationship of circumcision to sexually
transmitted diseases is conflicting” and that “methodologic problems render these reports about
some STDs inconclusive”. In any event, newborn boys and older boys are not at risk of STDs,
Furthermore, males must still practice safe sex to avoid STDs and HIV, As the AMA later wrote
in 1999, circumcision cannot responsibly be advanced as protection against STDs, The Guidelines
should have not discussed them as a reason to elect circumcision, and Dr. Chait should not have
advanced STDs and HIV, citing the AAP Guidelines, as a reason to do so. The AAP’s mention of
STDs is a scare tactic designed to sell circumcision.

78. The AAP did not disclose that even granting the AAP’s claims, for example that it reduces the
risk of UTIs by 1%, circumcision has little prospect of benefiting any boy or man, violating the
ethical rule that medical procedures must do good, And insofar as circumcision is painful, risky,
and causes substantial harm in every case, it violates the ethical rule, “First, Do No Harm”.

79, As physicians and members ofa medical organization issuing medical guidelines, the members
of the 1989 task force on circumcision had an ethical and legal duty to use their independent

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medical judgment to determine whether circumcision is medically indicated and hence justified or
not, and, if not, as the AAP stated in 1971 and 1975, to recommend against it. The implied legal
claim by the AAP in 1989 that physicians have the right to perform the operation, and to take
orders from parents who know little or nothing about medicine to do so, is false and was known
by the AAP to be false. The rule for physicians is: do not operate on a healthy child; only operate
on a child when he or she needs the operation. The AAP Guidelines were completely fraudulent
in promoting circumcision, if parents elect it, when physicians are not ailowed to perform the
operation unless it is medically necessary.

80. To the extent that the members of the 1989 AAP task force on circumcision did not have
knowledge of the falsity of any its false claims enumerated above, they and the AAP acted
recklessly in disregard of the truth or falsity or said claim or claims, and are liable for fraud.

81. The AAP thereby intentionally defrauded Adam Lavine, acting on behalf of his son Shingo
Lavine and his wife Aiko Lavine, and therefore intentionally defrauded the three Plaintiffs,

WHEREFORE, Plaintiffs demand judgment that the American Academy of Pediatrics
committed intentional fraud against them, and they pray for the relief requested below.
COUNT IV
(Constructive Fraud)

The American Academy of Pediatrics

82. Plaintiffs repeat and re-allege the facts and allegations in Paragraphs 1-81 as if set forth at
length herein.

83. The AAP is a medical organization, comprised of physicians licensed to practice medicine,
that issues guidelines for physicians to follow in the practice of medicine and here, the practice of

circumcision,

84. The AAP owes a fiduciary duty to patients and their legal representatives who learn about or
are informed about and who rely upon the AAP’s circumcision guidelines, here Adam Lavine’s

reliance on the AAP’s 1989 Policy Statement.

85, When the AAP violates the trust that a physician (here Dr. Chait), a patient (here Shingo
Lavine) and/or those representing him (here Adam and Aiko Lavine) places in the AAP by some
wrongful or unfair act—including without limitation by unfair conduct, unethical conduct,

unlawful conduct, by fraud, breach of fiduciary duty, mistake, undue influence, coercion, duress,

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or unjustly enriches itself—a cause of action lies for constructive fraud, even if intent to defraud

is absent.

86. The AAP’s wrongful and unfair acts enumerated in this Complaint and in Count Ii—including
without limitation undisclosed conflicts of interest, scientific misconduct, failure to use
independent and neutral medical judgment, fraudulent medical claims and omissions, scare tactics,
fraudulent legal claims and omissions, promotion of unethical conduct, violation of boys’ rights,
breach of fiduciary duty, unfairness, mistake, undue influence, coercion, duress, and unjust

enrichment—constitute constructive fraud.

WHEREFORE, Plaintiffs demand judgment that the American Academy of Pediatrics committed

constructive fraud against them, and they pray for the relief requested below.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs Shingo Lavine, Adam Lavine, and Aiko Lavine demand judgement
against defendants, Princeton Medical Group, P.A, and the American Academy of Pediatrics, Inc.
and they seek the following relief:

(a) Compensation for Shingo Lavine for the pain caused by each of the two circumcisions;
the pain caused by his injuries; for the emotional distress, suffering, stress, pain, and
mental anguish caused by the circumcisions.

(b) Compensation for the pain and pain and suffering and emotional distress associated
with attempting partial foreskin restoration to try to mitigate the damage caused by the
circumcisions; and compensation for the time spent and that will be spent on foreskin
restoration.

(c) Compensation for the mental anguish suffered by Adam and Aiko Lavine as a result of
the two circumcisions,

(d) Attorneys’ fees, pre- and post-judgment interest and costs of this lawsuit;

(e) Punitive damages; and

(f) Such other relief as the court may deem just and equitable under the circumstances,

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ANDREW DELANEY, ATTORNEY AT LAW, LLC
Attorney for Plaintiffs Shingo, Aiko and Adam Lavine

 

Dated: February 4, 2021

DEMAND FOR TRIAL BY JURY

Pursuant to Rule 4:35-1(a) and (b) respectively, Plaintiffs respectfully demand a trial by jury on

all issues in the within action so triable.

Dated: February 4, 2021 BY: CV 6

ANDREW DELANEY, ESQ.
DESIGNATION OF TRIAL COUNSEL

In accordance with Rule 4:25-4, Andrew DeLaney, Esq. is hereby designated as trial
counsel on behalf of Plaintiffs.

Dated: February 4, 2021 BY: gre oe

ANDREW DELANEY, ESQ.

 

CERTIFICATION
The undersigned hereby certifies that the matter in controversy between the parties herein
is not the subject of any other action pending in any Court or any arbitration proceeding, and that

no other action or arbitration proceeding with respect to the matter in controversy is contemplated.

The undersigned further certifies that the names of any non-parties who should be joined

in the action pursuant to Rule 4:28, or who are subject to joinder pursuant to Rule 4:29-1(b)

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because of potential liability to any party on the basis of the facts set forth in the within complaint

are: None.

I certify that confidential personal identifiers have been redacted from documents now
submitted to the court, and will be redacted from all documents submitted in the future in
accordance with R. 1:38-7(b).

 

Dated: February 4, 2021 BY: fr L27 ;
ANDREW DELANEY, ESQ.

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LIST OF ATTACHED EXHIBITS
EXHIBIT A

“Ode to the Circumcised Male,” Poem by Edgar Schoen, M_D., chair of the 1989 Task Force of
the AAP on Circumcision

EXHIBIT B

“Report of the Task Force on Circumcision, RE9148” Pediatrics, 989;84(4):388-91 (August,
1989)

EXHIBIT C
“Care of the Uncircumcised Penis,” AAP Pamphlet, 1984
EXHIBIT D

“Newborns: Care of the Uncircumcised Penis,” AAP Pamphlet, 1994

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EXHIBIT A
 

 

 

 

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ert influence of the sex of the child,*
Syanuey ML Gary, PRD
Tinoray V, Sun.3rvAN
The Center fur Human Growth
and Development.
The Untvaralty of Michigan
800 North Ingalls Bldg
Ann Arbor, MI 43109

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A

‘Ode to the Clrceumclsed Male’

Sir.-—Before the mid-1970a, the Amer-
ican standard of care included neonatal
circurmelsion, a minor surgical proce-
dure that promoted genital hygiene
and prevented later panile cancer 28
weil az cervical cancer in famnle sexual
partners. More recently, avidence has
suggested that adaquate hygiene is all
that ls needed and that clreurmelalon is
an unnecessary and traumatic proce-
dure, In 1988, the American Academy
of Pedlatrics and the American College
of Obstetrics and Gynecology jointly
agreed that routine circumcision is nat
necensary,' and third-party payers are
increasingly refusing to pay for the
procedure, Whether recent evidence
of a decreased |ncidence of urinary
tract infections in circumcised male
infants’ can stem the anticircumeiaion
tide is questionable,

The purpose of thia communication
fs to offer some solace to the genera-
tions of circumcised malas who ere now
being told thot they have undergone an
unnecessary and deforming proce-
dure, which may sisu have been brutal
and psychologically traumatic. Th
them I offer these lines:

Ode to the Clrewnmelsed Male

We have a new topic to heat up our pas-
slans—the foreskin is currently Lop of
the fashions.

Tf yoti're the new son of a Berkeley profee-
sor, your genital altin will be greater, not
leaser,

For it you've been elre'ed or are Moalarn or
Jewish, you're outside (he mode; you are
old-ish not new-lah,

128 «©=AJDC—Vol 14), Feb 1587

You huve broken the Intest soclely rulen;
you may never get into the finest of
achools.

Nonelreumelsed males aré the “genital
chic'—[f your foreskin li gone, you are
now ap the creel,

Itw a grent work of art lke the atatue of
Venuz, fyou're wearing a hat.on the head
of your penis,

When yot gaze throogh o looking glass,
don't: think of Allee; don't rie that you
sulfered a rape of phallus.

Just hope that ona day you can say with o
mile thet your glune ala't pasad; It will
rise up in style.

Encar J. Scxozn, MD
Department of Pediatrica
EKaiaer Permanente
Medical Center
280 W MacArthur Blvd
Cakland, CA 84611
L, Amerlean Academy of Pediatrics and Amer

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Gastric Acid Aspiration Possible
During Flexible Endoscopy
Without General Anesthasia

Sin—I wish to comment on De Ben-
dig’a' recent article, “Removal of Blant
Esophages! Forsign Bodies by Mlex-
ible Endoscopy Without General
Anesthesia."

I suggest thal Dr Bendig has heen
fortunate in avoiding pulmonary sapi-
ration of gastric contents in his pa-
tients, a life-threatening complicetion.
Animal studles have suggested a criti-
eal gastric volume nf 0.4 mL/Mg and a
pH of 2.6 or less aa predisposing to
gerious pulnionary aspiration,’ Pedi-
atrie patients are even more likely than
adults to exceed this critical valume
and pH.™ Coté et al’ found 60 of
pedistric patiants to have gastric pH
lene than 2.6 immediately after in-
duction of general anesthesia, Of these
§l children, 76% had gastric pH lesa
than 2.6 and gastric volume greater
than 0.4 mL/kg, placing them at risk
for acid asplration syndrome.

I suspect that many of Dr Bendig’s
patients were also at risk for ecid aapi-
ration both intraoperstively and post-
operatively, despite the six-hour neth-
ing-by-mouth period. Dr Dendig uned
chlorpromazine hydrochloride, me-
peridina hydrochloride, and diazepam
to sedate his patienta, a combination
atmilar to “tytle cocktail," exeent for
the subetitution of dingepam for pro-

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methazine. In addition, ¢
ynx. was topleally anesth
Wdocsine or benzocaine.
ability to perform esophi
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spent for their inabllfty tc
airways—the cough and )
were sbolished, Wher ape
protect and control his
airway, it. is the respanai
physician te cantrol It tay
gerous aspiration. Dr Ber
that “there were no com)
sedation or of Che endoaco)
Was aspiration looked fos
tively? Did all children }
postoperative chest roant
Did no child have a temper
tion postoperatively?
Genera] anesthesia wi
cheal intubation provides
tro] and considerable prot
pulmonary aspiration of
tente. Recovery from an
anesthetic fs also much
from the above-mentionec
Suggest that the risks fr
anesthesia {n this altuati
than that of gustric acid a
Despite Dr Bendig’s c
trained pediatric suppor
end equipment be availabli
if airway obstruction or
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Task Force on Circumcision

e Report of the Task Force on Circumcision (RE9148)

 

 

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The 1971 edition of Standards and Recommen- _
dations of Hospital Care of Newborn Infants by the

Committee on the Fetus and Newborn of the Amer-
ican Academy of Pediatrics (AAP) atated that
“there are no valid medical indications for circum-
cision in the neonatal period.” fp, 1975, an Ad
Hoc Task Force of the same committee reviewed
this statement and concluded that “there is no
absolute medical indication for routine circumci-
sion of the newborn.””""” 'The 1975 recommenda-
tion was reiterated in 1989 by both the AAP and
the American College of Obstetrics and Gynecology
in the jointly published Guidelines to Perinatal
Care.?

Large-scale studies of US hospitals indicate that
most male infants born in this country are circum-
cised in the- newborn period,’ although the circum-
cision raterecently appears to be decreasing, Since
the 1975 report, new evidenca has suggested possi-
ble medical benefits from newborn circumcision.
Prelimmary data suggest the incidence of urinary
tractinfectionin male infants may be reduced when
this procedure is performed during the newborn
period. There is alao ndditional published infor-
mation concerning the relationship of circumcision
to sexually transmitted diseases and, in turn, the
relationship of viral sexually transmitted disenses
to cancer of the penis.and cervix.

DEFINITIONS, PENILE HYGIENE, AND LOCAL
INFECTIONS

The penis consists of a cylindrica! shaft with a
rounded tip (the glans). The shaft and glans are
separated by a groove called the coronal sulcus. The
foreskin, or prepuce, is the fold of skin covering the
glans. At birth, the prepuce is still developing hia-
tologically, and its separation from the glans is
usually incomplete. Only about 4% of boys have a
retractable foreskin at birth, 15% at 6 months, and

 

The recommendations in this statement do not indiente an
exclusive course of treatmunt or procedure to be follawed. Vari-
slions, taking into account individual circumstances, may be
ippropriate,

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60% oat 1 year; by 3 yours, the foreskin can he
retracted in 80% to 90% of uncircumcised boys.*

Phimosis is stenosis of the preputial ring with
resultant inability to retract a fully differentiated
foreskin. Paraphimosis is retention of the preputial
ring proximal to the coronal gulcus, creating a ten-
sion greater than lymphatic pressure resulting in
subsequent edema of the prepuce and glana distal
to the ring, Balunitis is inflammation of the glans,
and posthitis is inflammation of the prepuce; thene
conditions usually occur together (balanopoathitis).
Meatitis is inflnmmation of the external urethral
meatus,

Newborn circumcision consists of removal of the
foreskin to near the coronal sulcua performed in
early infancy (before age 2 months). ‘The procedure
prevents phimosis, paraphimosis, and balanopos-
thitis, Meatitis is more commen in cireumcized
boys. There is no evidence that meatitis leads to
stenosis of the urethral meatus,

It js particularly important that uncircumcised

boys be taught careful penile cleansing. As the boy

grows, cleansing of the distal portion of the penis
is facilitated by gently, never forcibly, retracting
the foreskin only to the point where resistance is
met, Full retraction may not be achieved until age
3 years or older,

A small percentage of boys who are not-circum-
cised ag newborns will later require the procedure
for treatment of phimosis, paraphimonsis, or balan-
oposthitis. When performed after the newborn
period, circumcision msy be a more complicated
procedure.’

i

CANCER OF THE PENIS

The overall annual incidence of cancer of the
penis in US men has been estimated to be 0.7 to
0.9 per 100000 men ond the mortality rate is os
high as 25%,*"' Thia condition occurs almost ex-
clusively in uncircumcised men.'*™ In five major
reported series since 1992, not one man had been
circumcised neonatally,'s"'® The predicted lifo-
time risk of cancer of the penis developing in on
uncircumcised man haa been estimated at 1 in G00
men in the United States”; in Denmark, the esti-
mate js Lin 909 men.” In developed countries where

a
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neonatal circumcision is not routinely performed,
the incidence of penile cancer ia-reported to range
from 0.3 to 1.1 per 100 000 men per year,’ This low

incidence is about half that found in uncircumcised

US men, but greatar than that in circumcised US
men,

Factors other than circumcision are important in
the etiology of penile cancer. The incidence of pen-
ile cancer is related to hygiene. In developing na-
tions with low standards of hygiene, the incidence
of cancer of Lhe: penis in uncircumcised men is 3 to
G per 100 000. men per year,* The decision not to
circurncise a male infant must be accompanied by
a lifetime commitment to genital hygiene to mini-
mize the risk of penile cancer developing, Recently,
human papillomavirus types 16 and 18 DNA as-
quences have been found in 51 of 63 cases of penile
cancer, suggesting the importance of these viruses
in the development of this condition Poor hy-
giene, lack of circumcision, and certain sexually

transmitted diseases all correlate with the incidence -

of penile carcinoma.

URINARY TRACT INFECTIONS

A 1982 series of infants with urinary tract infec-
tions noted that males preponderated, contrary to
female preponderance later in life, and that 95% of
the infected boys were uncircumcised.** Beginning
in 1985, studies conducted at US Army hospitals
involving more than 200 000 men ahowed a greater
than tenfold incresse in urinary tract infections im
uncircumcised compared with circumcised male in-
fants; moreover, as the rate of circumcision declined
throughout the years, the incidence of urinary tract
infection Incrensed.*** In another army hospital
study, infants were examined in the first month of
life and itwas concluded that the high incidence of
urinary tract infection in uncircumcised boys wos
accompanied by.« similarly increased incidence of
other significant infection, including bacteremia
and meningitis”; however, the authors of that study
did not distinguish between bacteriuria secondary
to septicemia and primary urinary tract infection,
Still another recent army hospital study Jends sup-
port to a 1986 hypothesis that circumcision pre-
vents preputial bacterial colonization and thus pro-
tects male infants against urinary tract infec-
tian.?"* It should be noted that these studies in
army hospitals ere retrospective in design and mey
have methodelogic flaws. For example, they do not
include all boya born in any single cohort or those
treated og outpatients, so the atudy population may
have been influenced by selection bias.

SEXUALLY TRANSMITTED DISEASES

Bvidence regarding the relationship of cireumci-
sion to eoxually transmitted diseases is conflicting.

Early series indicated o higher risk of gonococeal
and nonspecific urethritis in uncircumcised
men,”""" whereas one recent study shows ne differ-
ence in the incidence of gonorrhea and ao higher
incidence of nonspecific urethritis in circumcised
men,”* Although published reports suggest that
chancroid, syphilis, human papillomavirus, and
herpes simplex virus type 2 infection ara more
frequent in uncircumcised nen, methodologic prob-
lems render these reports inconclusive.”°°2*

CERVICAL CARCINOMA

There appears to be « strong correlation between
squamous cell carcinoma of the cervix and sexually
transmitted diseases. Human papillomavirus types
16 ond 18 are the viruses most commonly associated
with eaneur of the cervix" “*; Horpes simplex virus
type 2 has also been linked with cervical cancer.”
Although humen papillomavirus types 16 and 18
ora also associaled with cancer of the penis,
evidence linking uncircumcised men to cervical car-
cinoma is inconclusive. The strongeat predisposing
factor’ in cervical cancer are oa history of inter-
course at. an early age and multiple sexual partners,
The disense ia Virtually unknown in nuns and yir-
gine.

PAIN AND BEHAVIORAL CHANGES

Infents undergoing cireurncision without anes+
thesia demonstrate physiologic responses suggest-
ing that they are experiencing pain,” Thy observed
responses include behavioral, cardiovascular, and
hormonal changes. Pain pathways aa well gs the
cortical and subcortical centers necessary for pain
perception are well developed by tho third trimes-
ter. Responses to painful stimuli have been docu-
mented in neonates of all viable gestational ages,
Behavioral changes include o cry pattern indicating
distreaa during the circumcision proceclure and
changes in activity (irritability, varying sleep pat-
terns) and in infant-maternal interaction for the
firat. few hours alter circumcision,“'"” These behav-
ioral changes are transient and disappear within 24
hours after surgery.”

SURGIGAL TECHNIQUES AND LOCAL
ANESTHESIA

Circumcision is & safe surgical procedure if par-
formed carefully by a trained, experienced operator
using strict aseptic technique. Thea procedure
should be performed only on @ healthy, stable in-
fant, Clamp techniques (eg, Gomeo or Mogen
clamps) or a Plastibell give equally good results.“
Techniques that may reduce postoperative compli-
cationa include (1) using o surgical marking pen to
mark the location of the coronal sulcus on the shalt

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skin preoperatively; (2) identifying the urethral
meatus; (3) bluntly_treeing the foreskin from the

_ Blans with a flexible probe; (4) completely retract-

ing-the foreskin; and (6) identifying the coronal
sulcus, all before applying the clamp or Plastibel!
and before excising any foreskin,® Electrooautery
should not be used in conjunction with metal
clamps. At the initial health supervision visit -fol-
lowing hospital discharge, the penis should ba care-
fully exemined and the parants given instructions
concerning on-going care,

Dorsal penile nerve block using no more than 1%

Jidocaine (without epinephrine) in appropriate

doses (3 to 4 mg/kg) may reduce the pain and streas
of newborn circumelsion."*" However, reported
experience with local anesthesia jn newborn cir-
cumcision fg limited, and the procedure is not with-
out risk (see “Complications”),

CONTRAINDICATIONS, COMPLICATIONS,
INFORMED CONSENT

Circumcision is contraindicated in an unstable
or sick infant. Infants with genital anomalies, in-
cluding hypospadias, should not be circumcised be-
couse the foreskin may later be needed for surgical
correction of the anomalies. Appropriate Inboratory
studies should be performed when there is a family
history of bleeding disorders. Infanis who have
demonstrated an uncomplicated transition te ex-
teauterine life are considered stable. Signs of ata-
bility include normal feeding and elimination and
maintenance of normal-body temperature without
an incubator or radiant warmer. A period of obser-
yation may allow for recognition of abnormalities
or illneases (eg, hyperbilirubinemis, infection, or
manifest bleeding disorder) that should be ad-
dressed before elective surgery. It is prudent to wait
until a premature infant meets criteria for discharge
before performing circumcision.

The exact incidence of postoperative complica-
tions is unknown,” but large series indicate that
the rate is low, approximately 0,2% to 0,6%,*486!.62
The most common complications are local infection
and bleeding, Deaths attributable to newborn cir-
cumcision are rare; there were no deaths in 500 000
circumcisions in: New York City" or in 175 000
circumcisions in US Army hospitals“! A commu-
nication published in 1979 reported one death in
the United States due to circumcision in 1973, and
the authors’ review of the literature during the
previous 25 years documented two provious deaths
due to this procedure.”

Complications due to local anesthesia are rave
and consist mainly of hematomas and Jocal skin
necrosia.!* However, even a small dose of
lidocaine can result in blood levels high enough to
produce measurable systemic responses in neo-

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nates.“" Local anesthesia adds an elemant of risic

and data regarding its use have not heen reported

m large numbers of cases. Circumferential anes-*
thesia may be hazardous. It would be prudent to
obtaln more data from large controlled series before
advecating local anesthesia as an integral part of
newborn circumcision,

When considering circumcision: of their infant
gon, parents should be fully informed of the ponsible
benefits and potantial risks of newborn circumcei-
sion, both with and without local anesthesia, In
addition to the medical aspects, other factora will
affect the parents’ decisions, including esthetics,
religion, cultural attitudes, social pressures, and
tradition.

SUMMARY

Properly performed newborn circumcision pre-
vents phimosis, paraphimosis, and balanoposthitis
and has been shown to decraage the incidence of
cancer of Lhe penis among US men. It may result
in a decreased incidence of urinary tract infection.
Howaver, in the absence of well-designed prospec-
tive studies, conclusions regarding the relationship
of urinary tract [nfection to circumcision are ten-
tative. An increased incidence of canoer of the
cervix has been found jn sexual partners of uncir-
cumcised men infected with human papillomavirus.
Evidence concerning the association of sexually
transmitted diseases and circumcision is conflict-
ing.

Newborn circumcision is a rapid and generally
safe procedure when performed by on experienced
operator, It is an elective procedure to be performed
only if an infant is stable und healthy. Infants
respond to the procedure with transient behavioral
and physiologic changes,

Local anesthesia (dorsal penile nerve block) may
redico the obaerved physiologic response to new-
born circumcision, !t also has its own inherent
risks, However, reports of extensive experience or
follow-up with the technique in nawborna are lock-
ing.

Newborn circumcision bas potential medical ben-
efita ond ndvantages as well as disadvantages and
risks, When circumcision is being conaidered, the
benefits and risks should be explained to the par-
ents and informed consent obtained,

AAP Task Force on Cincumcision
Edgar J. Schoen, MD, Chairman

Glen Anderson, MD

Conatance Bohon, MD

Frank Hinman, Jr, MD

Ronald L, Poland, MD

i. Maurice Wakeman, MD

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ERRATUM .
Policy Statement RE9148
_ Report. of the Task Force on Circumcision

Under the heading of "Urinary Tract Infections" (line 6, page

389), "men" should be changed to "infant boys." The

complete statement should now read:
Beginning in 1985, studies conducted at US Army
hospitals involving more than 200 000 infant boys showed
a greater than tenfold increase in urinary ¢ tract
infections in uncircumcised compared with circumcised
male infants; moreover, as the rate of circumcision
declined throughout the years, the incidence of urinary
tract infection increased.

The Task Force on Circumcision would also like to acknowledge
the following for their provision of expert advice:
David T. ‘Mininberg, MD, FAAP, Section Liaison
‘Jerome 0. Klein, MD, FAAP
Edward A. Mortimer, Jr, MD, FAAP
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EXHIBIT D
        

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C (862) 812-6874

E. andrewdelaney21@gmail.com

Attorney for Plaintiffs Shingo Lavine,

Adam Lavine, and Aiko Lavine

Attorney ID: 095232013

 

SHINGO LAVINE, ADAM LAVINE, AND | SUPERIOR COURT OF NEW JERSEY

AIKO LAVINE, LAW DIVISION: MERCER COUNTY
Plaintiffs, DOCKET NO.: MER-L-000272-21
Civil Action
VS,
PRINCETON MEDICAL GROUP, P.A. AND PLAINTIFF SHINGO LAVINE’S

AMERICAN ACADEMY OF PEDIATRICS
INC.,

Defendants

 

FIRST REQUESTS FOR PRODUCTION
OF DOCUMENTS AND THINGS TO
DEFENDANT AMERICAN ACADEMNY
OF PEDIATRICS, INC.

 

COMES NOW Plaintiff Shingo Lavine and requests that Defendant American Academy

of Pediatrics, Inc. (hereinafter the “AAP”) produce the following books, documents, or other

 
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tangible things, within 45 days of the service of these Requests upon it, at the offices of Andrew
Delaney, Attorney at Law LLC, 6 South Street, Suite 203, Morristown, New Jersey 07960.

No request shall be interpreted as requiring the production of attorney work product or
materials protected by the attorney-client privilege.

REQUESTS

1. Any and all books, documents, and other tangible things, including but not limited to
letters, memoranda, written communications, oral communications that were recorded in some
physical form, journal articles, research articles, texts, opinions, graphs, charts, newspaper or
magazine articles or opinion pieces, surveys, compilations of data, or the like, that were submitted
to the AAP Task Force on Circumcision (hereinafter the “Task Force”) whose report (hereinafter
“the Report”) was published in Pediatrics 1989;84;388-391 and a copy of which is attached to the

Complaint in this case.

2: Any and all books, documents, and other tangible things, including but not limited to
letters, memoranda, written communications, oral communications that were recorded in some
physical form, journal articles, research articles, texts, opinions, graphs, charts, newspaper or
magazine articles or opinion pieces, surveys, compilations of data, or the like, that were considered

by the Task Force before the approval and publication of the Report.

a Any and all books, documents, and other tangible things, including but not limited to

minutes, notes, or sound or video recordings, that record any of the deliberations of the Task Force
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or the approval of the Report by any other body or person within or acting upon the behalf of the

AAP,

4. Any and all drafts of the Report or a suggested report that were submitted to, formulated
by, or considered by the Task Force or any member thereof before the approval and issuance of

the final version of the Report.

3k Any and all books, documents, and other tangible things, including but not limited to
letters, memoranda, written communications, and oral communications that were recorded in some

physical form, that suggested or led to the formation of the Task Force.

6, Any and all books, documents, and other tangible things, including but not limited to
letters, memoranda, written communications, and oral communications that were recorded in some
physical form, that dealt with the selection of the members of the Task Force, including but not
limited to requests for appointment thereto, invitations to participate as a member of the Task

Force, letters of acceptance, letters declining to participate, and the like.

7. Any and all books, documents, and other tangible things, including but not limited to
letters, memoranda, written communications, and oral communications that were recorded in some
physical form, that dealt with the selection of the Chairman of the Task Force, including but not
limited to requests for appointment as such, invitations to participate as Chairman of the Task

Force, letters of acceptance, letters declining to participate, and the like.
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8. Any and all books, documents, and other tangible things reflecting communications
between members of the Task Force themselves in regard to the subject of the Task Force or its

operations, deliberations, or report.

9. Any and all books, documents, and other tangible things reflecting communications
between members of the Task Force and any other member of the AAP in regard to the subject of

the Task Force or its operations, deliberations, or report.

10. Any and all books, documents, and other tangible things reflecting communications
between members of the Task Force and any member of any other professional association or
organization, including but not limited to the American College of Obstetricians and
Gynecologists, the American Academy of Family Physicians, the American Cancer Society, or the
American Urological Association, in regard to the subject of the Task Force or its operations,

deliberations, or report.

11. Any and all books, documents, and other tangible things reflecting communications
between members of the Task Force and any person associated with any governmental agency,
including but not limited to the National Institutes of Health or the Centers for Disease Control, in

regard to the subject of the Task Force or its operations, deliberations, or report.

12. Any and all books, documents, and other tangible things reflecting the formulation of,
drafting of, content of, or production of the AAP’s 1984 pamphlets “NEWBORNS: Care of the

Uncircumcised Penis.”
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13. Any and all books, documents, and other tangible things reflecting the formulation of,
drafting of, content of, or production of the AAP’s 1994 pamphlet “NEWBORNS: Care of the
Uncircumcised Penis,” including without limitation those items reflecting or concerning the
modification of the language therein whereby the section in the 1984 pamphlets entitled “The
Function of the Foreskin:” was eliminated and the reference in the “Diagrammatic Representation
of the Inner and Outer Foreskin Layers” was modified to eliminate the reference to “author of
Circumcision; An American Health Fallacy.” This request includes, specifically, any

documentation that evidences the reason(s) for the elimination of the referenced portions and the

identity of the persons who suggested and/or authorized such changes.

14. Any and all letters or comments, whether or not published, received by the editors of

Pediatrics in regard to the Report as published.

15. Any and all books, documents, and other tangible things reflecting any dissent from the

Report by any member of the Task Force.

16. Any and all versions of the pamphlet “Newboms; Care of the Uncircumcised Penis” from

1984 up to and through 1997,

ANDREW DELANEY, ATTORNEY AT LAW, LLC
Attorney for Plaintiffs Shingo, Aiko and Adam Lavine

 

Dated: February 9, 2021
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 45 of 48 Trans ID: LCV20211470242
Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 64 of 122 PagelD: 226

ANDREW DELANEY, ATTORNEY AT LAW LLC
By: Andrew DeLaney, Esq.

6 South Street, Suite 203

Morristown, New Jersey 07960

T (973) 606-6090

C (862) 812-6874

E. andrewdelaney21@gmail.com

Attorney for Plaintiffs Shingo Lavine,

Adam Lavine, and Aiko Lavine

Attorney ID: 095232013

 

SHINGO LAVINE, ADAM LAVINE, AND | SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, LAW DIVISION: MERCER COUNTY

Plaintiffs, DOCKET NO.: MER-L-000272-21

Civil Action
VS.

PRINCETON MEDICAL GROUP, P.A. AND

AMERICAN ACADEMY OF PEDIATRICS |! LAINTIFF SHINGO LAVINE'S
INC., FIRST INTERROGATORIES TO
DEFENDANT AMERICAN ACADEMNY
Defendants OF PEDIATRICS, INC.

 

 

 

COMES NOW Plaintiff Shingo Lavine and requests that Defendant American Academy

of Pediatrics, Inc, (hereinafter the “AAP”) answer the following interrogatories within the time
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 46 of 48 Trans ID: LCV20211470242
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No interrogatory shall be interpreted as requiring the revelation of attorney work product

or matters or materials protected by the attorney-client privilege.

INTERROGATORIES

l. Please state the names and last known physical addresses, email addresses, and telephone
numbers of the members of the AAP Task Force on Circumcision (hereinafter the “Task Force”)
whose report (hereinafter “the Report”) was published in Pediatrics 1989;84;388-391 and a copy

of which is attached to the Complaint in this case.

2. Please state the name(s) and last known physical address(es), email address(es), and

telephone number(s) of the person or persons who selected the members of the Task Force.

3 Please state name(s) and last known physical address(es), email address(es), and telephone

number(s) of the person or persons who selected the Chairman of the Task Force.

4. Please state the name(s) and last known physical address(es), email address(es), and

telephone number(s) of the person or persons who decided to convene and appoint the Task Force.

5. Who requested that the Task Force be convened and why was the Task Force convened?
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6. Please state the name(s) and last known physical address(es), email address(es), and
telephone number(s) of any employees or agents of the AAP who assisted the Task Force,
consulted with the Task Force, kept the records of the Task Force, received information to convey

to the Task Force, or attended any of its meetings.

7. How many times did the Task Force meet, how did it meet (in person, by telephone, etc.),

where did it meet, how were its proceedings recorded, and who kept the minutes of its proceedings?

8. Did any member of the Task Force ever leave a meeting because of a disagreement with
any other member or members of the Task Force? If so, give complete details, including who left
the meeting, when the incident occurred, the reasons given for the person(s) leaving the meeting,

and the like,

9, Did any member of the Task Force draft or present a dissenting report? Ifso, give complete
details, including who drafted or presented a dissenting report, the contents thereof, the reason(s)

for it, and the disposition of such.

10. Please state the name(s) and last known physical address(es), email address(es), and
telephone number(s) of any person(s) who authored, drafted, approved or had anything to do with

the content of the AAP’s 1984 pamphlets “NEWBORNS: Care of the Uncircumcised Penis.”
MER-L-000272-21 06/18/2021 4:58:02 PM Pg 48 of 48 Trans ID: LCV20211470242
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11. Please state the name(s) and last known physical address(es), email address(es), and
telephone number(s) of any person(s) who authored, drafted, approved or had anything to do with

the content of the AAP’s 1994 pamphlet “NEWBORNS: Care of the Uncircumcised Penis.”

12. Please state the name(s) and last known physical address(es), email address(es), and
telephone number(s) of any person(s) who had anything to do with the modifications of the
language in the AAP pamphlet “NEWBORNS: Care of the Uncircumcised Penis” whereby the
section in the 1984 pamphlets entitled “The Function of the Foreskin:” was eliminated in the 1994
edition and the reference in the “Diagrammatic Representation of the Inner and Outer Foreskin
Layers” was modified in the 1994 edition to eliminate the reference to “author of Circumcision:

An American Health Fallacy” and state ALL of the reason(s) for those modifications.

ANDREW DELANEY, ATTORNEY AT LAW, LLC
Attorney for Plaintiffs Shingo, Aiko and Adam Lavine

 

Dated: February 9, 2021
MER-L-000272-21 06/23/2021 11:20:30 AM Pg 1 of 2 Trans ID: LCV20211502347
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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

LibertyView | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND: SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. * CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND ‘ NOTICE OF MOTION FOR PRO HAC
AMERICAN ACADEMY OF PEDIATRICS : VICE ADMISSION OF MARC S.
INC., . SILVER

Defendants.

TO: Andrew DeLaney, Esquire
ANDREW DELANEY, ATTORNEY AT LAW LLC
South Street, Suite 203
Morristown, NJ 07960

 

PLEASE TAKE NOTICE that on July 9, 2021, at 9:00 am or as soon as counsel may
be heard, Defendant, American Academy of Pediatrics Inc., by and through its attorneys, White
and Williams LLP, will make application to the Superior Court of New Jersey, Law Division
Civil Part, Mercer County, New Jersey, for an Order granting admission of Marc S. Silver,
Esquire as counsel for defendant, American Academy of Pediatrics Inc., pro hac vice, pursuant
to R. 1:21-2.

PLEASE TAKE FURTHER NOTICE that counsel shall rely in support of this motion

upon the attached Certifications of Jared K. Levy, Esquire and Marc S. Silver, Esquire.

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Case 3:21-¢
PLEASE TAKE FURTHER NOTICE that oral argument is requested, if timely
opposition is filed.
PLEASE TAKE FURTHER NOTICE that no dates have been fixed for pretrial
conference, calendar call or trial in this matter.
WHITE AND WILLIAMS LLP
Attorneys for Defendant,
American Academy of Pediatrics Inc.
py, pet A Sent
Jaréed’K. Levy CJ)
Dated: June 23, 2021
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27305123v.1

 

 
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Case 3:21-

 

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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

LibertyView | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND: SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. * CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND ORDER GRANTING PRO HAC VICE
AMERICAN ACADEMY OF PEDIATRICS : ADMISSION OF MARC S. SILVER
INC.,

Defendants.

 

This matter having been opened to the court by White and Williams LLP, attorneys for
defendant American Academy of Pediatrics Inc., upon application for an order granting the pro
hac vice admission of Marc S. Silver, Esquire and the Court having considered the pleadings
filed, argument of counsel, if any, and for good cause shown, it is on this day of

, 2021, hereby

ORDERED that Marc S. Silver, Esquire be admitted pro hac vice to appear as counsel
for defendant American Academy of Pediatrics Inc. in this matter pursuant to R. 1:21-2,
provided the following requirements are met:

(1) Marc S. Silver, Esquire shall abide by the Rules governing the Courts of the State

of New Jersey, including all disciplinary rules;

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Case 3:21-

 

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(2) Marc S. Silver, Esquire shall consent to the appointment of the Clerk of the
Supreme Court as an agent upon whom service of process may be made for all actions against
him or his firm that may arise out of his participation in this matter;

(3) Marc S. Silver, Esquire shall notify the court immediately of any matter affecting
his standing in the bar of any other court; and

(4) Marc S. Silver, Esquire shall have all pleadings, briefs, and other papers filed
with the court signed by an attorney of record authorized to practice within the State of New
Jersey, specifically Jared K. Levy, Esquire, of the law firm of White and Williams LLP,
LibertyView, 475 Haddonfield Road, Suite 400, Cherry Hill, New Jersey, who shall be held
responsible for him and for his conduct; and it is

FURTHER ORDERED that non-compliance with any of the above requirements shall
constitute grounds for removal; and it is

FURTHER ORDERED that $212.00 be paid to the New Jersey Lawyers Fund, for each
attorney admitted, within _ days pursuant to Rule 1:21-2(a); and it is

FURTHER ORDERED that a copy of this order be served upon all counsel within

seven (7) days of receipt.

 

27318328v.1

 

 
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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

Liberty View | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND > SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. ‘ CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND ° CERTIFICATION OF JARED K.
AMERICAN ACADEMY OF PEDIATRICS : LEVY IN SUPPORT OF MOTION
INC., ’ FOR PRO HAC VICE ADMISSION OF
. MARCS. SILVER
Defendants.

 

I, Jared K. Levy, Esquire, of full age, do hereby certify as follows:

1. I am an attorney at law in the State of New Jersey and counsel with the law firm
of White and Williams LLP, local counsel for defendant, American Academy of Pediatrics, Inc.
in the above entitled action.

2. White and Williams LLP maintains bona fide offices for the practice of law in
the State of New Jersey at Liberty View, 457 Haddonfield Road, Suite 400, Cherry Hill, New
Jersey (and also in Newark, New Jersey).

3. I am authorized to practice law in the State in accordance with Rule 1:21-1(a).

4. I am fully familiar with the facts and circumstances of the matter herein and

make this certification in support of the pro hac vice admission of Marc S. Silver, Esquire.

27305123v.1

 

 

 
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5. Mr. Silver maintains an attorney-client relationship with American Academy of
Pediatrics Inc. and is familiar with its business operations and the facts and legal issues relating
to this litigation.

6. Mr. Silver is in good standing of the Bar of the State of Illinois and has held such
standing since 1996.

7. The undersigned counsel will remain associated with Mr. Silver and shall sign all
pleadings and other filings with the Court pursuant to Rule 1:21-2(b)(4).

8. Based upon the aforementioned, I respectfully request that Marc S. Silver,
Esquire be specially admitted to the Bar of the State of New Jersey for purposes of participation
in this action.

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

WHITE AND WILLIAMS LLP
Attorneys for Defendant,
American Academy of Pediatrics Inc.

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Dated: June 23, 2021

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MER-L-000272-21 06/23/2021 11:20:30 AM Pg 1 of 2 Trans ID: LCV20211502347

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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

LibertyView | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND: SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. * CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND ‘ CERTIFICATION OF MARC S.
AMERICAN ACADEMY OF PEDIATRICS : SLIVER IN SUPPORT OF MOTION
INC., . FOR PRO HAC VICE ADMISSION

Defendants.

 

I, Marc S. Silver, Esquire, of full age, hereby certify as follows:

1. I am an attorney and member of good standing of the Bar of the State of Illinois.

2. I am a partner with the law firm of Barnes & Thornburg LLP and practice
primarily out of its offices located at One North Wacker Drive, Suite 4400, Chicago, Illinois
60606.

3. I have been retained to represent American Academy of Pediatrics Inc, in the
above-captioned matter.

4. I am associated in this matter with New Jersey counsel of record, Jared K. Levy,
Esquire, who is qualified to practice pursuant to R. 1:21-1.

5. There is good cause for my admission pro hac vice, including:

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(a) I have developed a working relationship with American Academy of
Pediatrics Inc., and I have become familiar with the facts and legal issues relating to this
particular type of litigation;

(b) American Academy of Pediatrics Inc., an Illinois corporation, has
requested my continued representation in this matter;

(c) My participation in this lawsuit will further the interest of convenience
and judicial economy and minimize the expense of this litigation;

(d) I have been admitted to practice in the State of Illinois since 1996; and

(e) No disciplinary proceedings are pending against me in any jurisdiction
and no discipline has previously been imposed on my in any jurisdiction.

6. Based upon the foregoing showing of good cause, I respectfully request to be
admitted pro hac vice to represent the interests of American Academy of Pediatrics Inc. in this
action.

I certify that the foregoing statements made by me are true, I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

BARNES & THORNBURG LLP
Attorneys for Defendant, American
Academy of Pediatrics Inc.

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Marc S. Silver

BY:

 

Dated: June 23, 2021

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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

LibertyView | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND: SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. * CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND CERTIFICATE OF SERVICE
AMERICAN ACADEMY OF PEDIATRICS — ;
INC.,

Defendants.

 

I hereby certify that a true and accurate copy of defendant’s Notice of Motion for Pro
Hac Vice Admission of Marc §S. Silver, Esquire was served this day via the Court’s e-

notification system upon the following counsel of record:

Andrew DeLaney, Esquire
ANDREW DELANEY, ATTORNEY AT LAW LLC
South Street, Suite 203
Morristown, NJ 07960

Gregory J. Giordano, Esquire
Stephanie J. Viola, Esquire
LENOX, SOCEY, FORMIDONI,
GIORDANO, LANG, CARRIGG & CASEY, LLC
136 Franklin Corner Road, Unit B2
Lawrenceville, NJ 08648

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Dated: June 23, 2021

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q dd K. Levy, Esquire —|—

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JARED K LEVY Superior Court of New Jersey
019132003 Civil Division, Civil Part

457 HADDONFIELD RD MERCER County

CHERRY HILL NJ 08002

SHINGO LAVINE, AIKO LAVINE, ADAM
LAVINE
VS.
PRINCETON MEDICAL GROUP, P.A., Docket No. MER-L-000272-21
AMERICAN ACADEMY OF PEDIATRICS

Civil Action

Adjournment Request

I certify that my adversary has consented and request that the MOTION DISMISSAL
HEARING scheduled on 07/09/2021 before DOUGLAS H HURD be adjourned.

Original DED: Current DED: # of DED Extension: 0
Original Arb Date: Current Arb Date: # of Arb Adjournments: 0
Original Trial Date: Current Trial Date: # of Trial Adjournments: 0

/S/ JARED K LEVY
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OH White anc
OM Williams ur

Jared K. Levy | Counsel

LibertyView | 457 Haddonfield Road, Suite 400 | Cherry Hill, NJ 08002-2220
Direct 856.317.3642 | Fax 856.317.3604
levyj@whiteandwilliams.com | whiteandwilliams.com

June 29, 2021
Via E-Filing

The Honorable Douglas H. Hurd, J.S.C.
Superior Court of Mercer County

Civil Courthouse

175 South Broad Street, 3" Floor
Trenton, NJ 08650

RE: Lavine v. Princeton Medical Group, P.A., et al.
Docket No: MER-L-000272-21

Dear Judge Hurd:

This Firm represents defendant American Academy of Pediatrics, Inc. in the above matter.
Pending before Your Honor on July 9, 2021 is American Academy of Pediatrics Inc.’s Motion to
Dismiss Plaintiffs’ Complaint (LCV20211469872) and Motion for Pro Hac Vice Admission
(LCV20211502347). At plaintiffs’ counsel’s request, we have agreed to carry Defendant’s
Motion to Dismiss two cycles to August 6, 2021. Accordingly, it is respectfully requested that
defendants Motion to Dismiss (LCV2021 1469872) be carried to August 6, 2021. The motion for
Pro Hac Vice Admission (LCV20211502347) can remain on July 9, 2021 unless Your Honor
requires oral argument in which case we would respectfully request that the motion be carried to
August 6, 2021 as well.

Thank you for your courtesies.
Very truly yours,

WHITE AND WILLIAMS LLP

Steud A.
CJ fred K. Levy
thch q =
Cc (via e-filing): Marc Silver, Esquire
Andrew Delaney, Esquire
Stephanie J. Viola, Esquire

Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
27358387v.1
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ANDREW DELANEY, ATTORNEY AT LAW LLC
By: Andrew DeLaney, Esq.

6 South Street, Suite 203

Morristown, New Jersey 07960

T (973) 606-6090

C (862) 812-6874

E, andrewdelaney21@gmail.com

Attorney for Plaintiffs Shingo, Aiko and Adam Lavine
Attorney 1D: 095232013

 

SUPERIOR COURT OF NEW JERSEY
SHINGO, AIKO AND ADAM LAVINE, LAW DIVISION: MERCER COUNTY

DOCKET NO.: MER-L-000272-21

Plaintiffs,
Civil Action

VS,
PRINCETON MEDICAL GROUP, P.A.
AND AMERICAN ACADEMY OF
PEDIATRICS, INC.

Defendant(s).

ADJOURNMENT REQUEST

 

 

 

| certify that my adversary (Princeton Medical Group) has consented and request that the
MOTION DISMISSAL HEARING scheduled on 07/07/2021 before DOUGLAS H HURD be

adjourned.
ANDREW DELANEY, ATTORNEY AT LAW, LLC
Attorney for Plaintiffs Shingo, Aiko and Adam Lavine
DacuSigned by:
eet
Dated July 6, 2021 BY: | 42 ee

 

ANDREW DELANEY, ESQ.
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ANDREW DELANEY

Attorney at Law

6 South Street Suite 203
Morristown, New Jersey 07960

Dir (973)606-6096
Cell (862)812-6874
andrew.delaney21@gmail,com

July 6, 2021

The Honorable Douglas H. Hurd
Superior Court of Mercer County
Civil Courthouse

175 South Broad Street, 3 Floor
Trenton, NJ 08650

(via efiling)

Re: Lavine v. Princeton Medical Group P.A. & American Academy of Pediatrics
Docket No.: MER-L-000272-21

Dear Judge Hurd,

Please be advised that | reoresent Adam, Shingo and Aiko Lavine in the above-captioned
matter. Pending before Your Honor on July 9, 2021 is American Academy of Pediatrics Inc’s
Motion to Dismiss Plaintiffs’ Complaint (L.CV202111469872) and Princeton Medical Group
P.A.’s Motion to Dismiss Plaintiffs’ Comptaint. On the consent of both parties, the American
Academy of Pediatrics, Inc’s Motion has been carried to August 6, 2021. We respectfully request
that the Motion to Dismiss Plaintiffs’ Complaint filed by Princeton Medica! Group, P.A. be
carried to the same day, and Princeton Medical Group, P.A. has consented to same. Thank you
for your courtesies.

Best Regards,

DocuSigned by:

[Za Bag

Agen Heaney, Attorney for Plaintiffs

 
Case 3:21-

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WHITE AND WILLIAMS LLP

BY: Jared K. Levy

Identification No. 019132003

LibertyView | 457 Haddonfield Road, Suite 400 |
Cherry Hill, NJ 08002-2220

856.317.3600

Attorneys for Defendant,

American Academy of Pediatrics Inc.

 

SHINGO LAVINE, ADAM LAVINE, AND: SUPERIOR COURT OF NEW JERSEY
AIKO LAVINE, : LAW DIVISION - MERCER COUNTY
Plaintiffs, * DOCKET NO.: MER-L-000272-21
v. * CIVIL ACTION

PRINCETON MEDICAL GROUP, P.A. AND ORDER GRANTING PRO HAC VICE
AMERICAN ACADEMY OF PEDIATRICS : ADMISSION OF MARC S. SILVER
INC.,

Defendants.

 

This matter having been opened to the court by White and Williams LLP, attorneys for
defendant American Academy of Pediatrics Inc., upon application for an order granting the pro
hac vice admission of Marc S. Silver, Esquire and the Court having considered the pleadings
filed, argument of counsel, if any, and for good cause shown, it is on this 9 day of July, 2021

ORDERED that Marc S. Silver, Esquire be admitted pro hac vice to appear as counsel
for defendant American Academy of Pediatrics Inc. in this matter pursuant to R. 1:21-2,
provided the following requirements are met:

(1) Marc S. Silver, Esquire shall abide by the Rules governing the Courts of the State
of New Jersey, including all disciplinary rules;

(2) Marc S. Silver, Esquire shall consent to the appointment of the Clerk of the
Supreme Court as an agent upon whom service of process may be made for all actions against

him or his firm that may arise out of his participation in this matter;

27318328v.1

 

 

 
Case 3:21-

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(3) Marc S. Silver, Esquire shall notify the court immediately of any matter affecting
his standing in the bar of any other court; and

(4) Marc S. Silver, Esquire shall have all pleadings, briefs, and other papers filed
with the court signed by an attorney of record authorized to practice within the State of New
Jersey, specifically Jared K. Levy, Esquire, of the law firm of White and Williams LLP,
LibertyView, 475 Haddonfield Road, Suite 400, Cherry Hill, New Jersey, who shall be held
responsible for him and for his conduct; and it is

FURTHER ORDERED that non-compliance with any of the above requirements shall
constitute grounds for removal; and it is

FURTHER ORDERED that $212.00 be paid to the New Jersey Lawyers Fund, for each
attorney admitted, within 30 days pursuant to Rule 1:21-2(a); and it is

FURTHER ORDERED that a copy of this order be served upon all counsel within
seven (7) days of receipt.

/s/ Douglas H. Hurd
PJ. Cv.

27318328v.1

 

 

 
MER-L-000272-21 07/26/2021 12:00:30 PM Pg 1 of 1 Trans ID: LCV20211743744
Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 84 of 122 PagelD: 246

JARED K LEVY Superior Court of New Jersey
019132003 Civil Division, Civil Part

457 HADDONFIELD RD MERCER County

CHERRY HILL NJ 08002

SHINGO LAVINE, AIKO LAVINE, ADAM
LAVINE
VS.
PRINCETON MEDICAL GROUP, P.A., Docket No. MER-L-000272-21
AMERICAN ACADEMY OF PEDIATRICS

Civil Action

Adjournment Request

I certify that my adversary has consented and request that the MOTION HEARING scheduled on
08/06/2021 before DOUGLAS H HURD be adjourned.

Original DED: Current DED: # of DED Extension: 0
Original Arb Date: Current Arb Date: # of Arb Adjournments: 0
Original Trial Date: Current Trial Date: # of Trial Adjournments: 0

/S/ JARED K LEVY
MER-L-000272-21 07/26/2021 12:00:30 PM Pg 1 of 1 Trans ID: LCV20211743744
Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 85 of 122 PagelD: 247

WB White anc
BM Williams ur

Jared K. Levy | Counsel

LibertyView | 457 Haddonfield Road, Suite 400 | Cherry Hill, NJ 08002-2220
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July 26, 2021
Via E-Filing

The Honorable Douglas H. Hurd, J.S.C.
Superior Court of Mercer County

Civil Courthouse

175 South Broad Street, 3" Floor
Trenton, NJ 08650

RE: Lavine v. Princeton Medical Group, P.A., et al.
Docket No: MER-L-000272-21

Dear Judge Hurd:

This Firm represents defendant American Academy of Pediatrics, Inc. in the above matter.
Pending before Your Honor on August 6, 2021 is American Academy of Pediatrics Inc.’s Motion
to Dismiss Plaintiffs’ Complaint (LCV20211469872). At plaintiffs’ counsel’s request, we have
agreed to carry Defendant’s Motion to Dismiss two cycles to September 10, 2021. Accordingly,
it is respectfully requested that defendants Motion to Dismiss (LCV20211469872) be carried to
September 10, 2021.

 

Thank you for your courtesies.

Very truly yours,

WHITE AND WILLIAMS LLP
Kheud Z Fy
< Jared K. Levy ‘o
SyKL:hch c ]

Cc (via e-filing): Marc Silver, Esquire

Andrew Delaney, Esquire

Stephanie J. Viola, Esquire

Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
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Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 86 of 122 PagelD: 248

1 of 1 Trans ID: LCV20211744661

STEPHANIE J VIOLA Superior Court of New Jersey
246342017 Civil Division, Civil Part

136 FRANKLIN CORNER ROAD B2 MERCER County
LAWRENCEVILLE NJ 08648

SHINGO LAVINE, AIKO LAVINE, ADAM
LAVINE

VS.
PRINCETON MEDICAL GROUP, P.A.,
AMERICAN ACADEMY OF PEDIATRICS

Docket No. MER-L-000272-21

Civil Action

Adjournment Request

I certify that my adversary has consented and request that the MOTION HEARING scheduled on
08/06/2021 before DOUGLAS H HURD be adjourned.

Original DED: # of DED Extension: 0

Original Arb Date:

Current DED:

Current Arb Date: # of Arb Adjournments: 0

Original Trial Date: Current Trial Date: # of Trial Adjournments: 0

/S/ STEPHANIE J VIOLA

 
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Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 87 of 122 PagelD: 249

LENOX, SOCEY, FORMIDONI, GIORDANO, LANG, CARRIGG & CASEY
A LIMITED LIABILITY COMPANY

RUDOLPH A. SOCEY, JR., P.C. COUNSELORS AT LAW ANDREW M. SALMON*+
ROLAND R. FORMIDONI 136 FRANKLIN CORNER RO AD, UNIT B2 NICHOLAS J. REPICI*

ROBERT P. CASEY, P.C. L N 08648 CASEY R. LANGEL*
Grecory J. GIORDANOt AWRENCEVILLE, NEW J ERSEY MICHAEL A, PATTANITE, JR.*

JOSEPH R. LANG + CASEY P. ACKER***
ROBERT F. CASEY, P.C. TEL: (609) 896-2000 STEPHANIE J. VIOLA
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*MEMBER OF NJ & PA BAR THOmaAS M. Brown, JSC (RET. *

**MEMBER OF NJ & NY BAR

***MEMBER OF NJ, NY & MA BAR
+ CERTIFIED AS A CIVIL TRIAL ATTORNEY SAMUEL D. LENOX

1922-1975

July 26, 2021

VIA ECOURTS

The Honorable Douglas H. Hurd, P.J.Cv.
Mercer County Civil Courthouse

175 South Broad Street, 3"! Floor
Trenton, NJ 08650

Re: Adam Lavine v. Princeton Medical Group, et al.
MER-L-272-21

Dear Judge Hurd:

This office represents the Defendant, Princeton Medical Group, in the above-referenced
matter. Presently before Your Honor is our client’s Motion to Dismiss, which is returnable on
August 6, 2021. Plaintiff’s counsel has requested that we carry our motion two cycles until
September 10, 2021, and we have consented to that request. Accordingly, it is respectfully
requested that Defendant’s motion be carried to September 10, 2021.

Your attention and consideration to the foregoing are greatly appreciated.

Very truly yours,
s/ Stephanie J. Viola

For the Firm
MER L 000272-21 07/31/2021 4:27:01 AM Pg 1 of 1 Trans ID: LCV2021 1788299
Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 88 of 122 PagelD: 250

MERCER COUNTY COURTHOUSE
CIVIL CASE MANAGMENT OFFICE
175 SOUTH BROAD ST P O BOX 8068
TRENTON NJ 08650-0068
DISMISSAL NOTICE

TELEPHONE - (609) 571-4200 EXT. 74432,NANCY NOCELLA TEAM 050
COURT HOURS: 8:30 AM - 4:30 PM

DATE: JULY 30, 2021
RE: LAVINE ADAM VS AMERICAN ACADEMY OF PEDIATRIC
DOCKET: MER L -000272 21
PARTY: PRINCETON MEDICAL GR

PLEASE TAKE NOTICE THAT ON SEPTEMBER 28, 2021 (60 DAYS FROM DATE OF
THIS NOTICE), THE COURT WILL DISMISS THE ABOVE PARTY OR PARTIES FOR LACK OF
PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
REQUIRED UNDER THE ABOVE RULES IS TAKEN.

HON DOUGLAS H. HURD ATT: ANDREW S. DELANEY
ANDREW DELANEY, ATTORNEY

 

JUDGE 6 SOUTH ST
STE 203
MORRISTOWN NJ 07960
MER-L-000272-21 08/18/2021 3:59:48 PM Pg 1 of 1 Trans ID: LCV20211917194
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JARED K LEVY Superior Court of New Jersey
019132003 Civil Division, Civil Part

457 HADDONFIELD RD MERCER County

CHERRY HILL NJ 08002

SHINGO LAVINE, AIKO LAVINE, ADAM
LAVINE
VS.
PRINCETON MEDICAL GROUP, P.A., Docket No. MER-L-000272-21
AMERICAN ACADEMY OF PEDIATRICS

Civil Action

Adjournment Request

I certify that my adversary has consented and request that the MOTION HEARING scheduled on
09/10/2021 before DOUGLAS H HURD be adjourned.

Original DED: Current DED: # of DED Extension: 0
Original Arb Date: Current Arb Date: # of Arb Adjournments: 0
Original Trial Date: Current Trial Date: # of Trial Adjournments: 0

/S/ JARED K LEVY
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Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 90 of 122 PagelD: 252

OH White anc
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August 18, 2021
Via E-Filing

The Honorable Douglas H. Hurd, J.S.C.
Superior Court of Mercer County

Civil Courthouse

175 South Broad Street, 3" Floor
Trenton, NJ 08650

RE: Lavine v. Princeton Medical Group, P.A., et al.
Docket No: MER-L-000272-21

Dear Judge Hurd:

This Firm represents defendant American Academy of Pediatrics, Inc. (“AAP”) in the above
matter. Pending before Your Honor on September 10, 2021 is American Academy of Pediatrics
Inc.’s Motion to Dismiss Plaintiffs’ Complaint (LCV20211469872). The purpose of this letter
is to respectfully request that the motion be carried to September 24, 2021 in order to allow AAP
additional time to file their reply brief in light of Labor Day and the upcoming Jewish holidays.
Ihave conferred with plaintiffs’ counsel and we respectfully request the motion be carried with
plaintiffs counsel’s opposition still due by September 2, 2021 and defendant AAP’s reply brief
due by September 20, 2021.

Thank you for your courtesies.
Respectfully submitted,

WHITE AND WILLIAMS LLP

Cc (via e-filing): Marc Silver, Esquire
Andrew Delaney, Esquire
Stephanie J. Viola, Esquire

Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
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Case 3:21-cv-17099-ZNQ-LHG Document 1-3 Filed 09/17/21 Page 91 of 122 PagelD: 253

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Attorney for Plaintiffs Shingo, Aike and Adam Lavine
Attorney ID: 095232013

 

SUPERIOR COURT OF NEW JERSEY
SHINGO, AIKO AND ADAM LAVINE, LAW DIVISION: MERCER COUNTY
DOCKET NO.: MER-L-000272-21
Plaintiffs,
Civil Action
VS.

PRINCETON MEDICAL GROUP, P.A. AND
AMERICAN ACADEMY OF PEDIATRICS,
INC.

Defendant(s).

PLAINTIFFS’ MEMORANDUM IN
OPPOSITION TO DEFENDANT
AMERICAN ACADEMY OF
PEDIATRICS’ MOTION TO DISMISS
PLAINTIFFS’ COMPLAINT WITH
PREJUDICE

 

 

 

INTRODUCTION
Defendant the American Academy of Pediatrics, Inc. (“AAP”) misapprehends the
gravamen of the Plaintiffs’ claims against it. It portrays the Complaint as being a medical
negligence/malpractice claim for two circumcisions that Plaintiff Shingo Lavine (“Shingo”)
underwent as an infant, the results of which have left him with a litany of physical and
psychological problems. In doing so, they erroneously invoke a number of defenses that would

apply only if this case were actually a medical malpractice/negligence case, and ignore or
1

 
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downplay the fraud that the AAP itself actually engaged in. Plaintiffs do not claim medical
negligence against the AAP (nor against any other party for that matter). The AAP, being a trade
organization, does not perform circumcisions,! so it cannot negligently perform them. Nor do
Plaintiffs claim that the AAP was directly involved in the “informed consent” counseling prior to
either of Shingo’s circumcisions, as the AAP itself does not provide “informed consent”
counselling directly to its patients. Rather, the AAP, as the leading organization of pediatricians
in the United States and a trade association dedicated to its members and their financial interests,
has voluntarily taken upon itself the responsibility of providing what it alleges to be authoritative
medical advice, guidance, recommendations for treatment to the medical profession and general
public.

Plaintiffs’ claims are based upon fraud perpetrated by the AAP when it promulgated
guidelines on circumcision in 1989, encapsulated in a “Report of the Task Force on Circumcision
(RE9148)” (“Guidelines”)?, upon which the AAP expected the medical profession and the
general public to rely in considering whether or not to recommend or agree to the circumcision
of an infant (notwithstanding a legally unenforceable “waiver” the AAP tries to invoke to
exculpate itself from the wrongdoing it committed in promulgating the guidelines). These
guidelines were promulgated with the express goal of protecting the medical profession from
lawsuits that were beginning to spring up in the 1980’s (on the basis that circumcision was
medically unnecessary and therefore constituted a battery when done on non-consenting minors).
Additionally, at least one member of the committee (the chairman Dr. Edgar Schoen, M.D.) was

so driven in his zealotry for circumcision that he authored a poem (“The Ode to the Circumcised

1 Many of its members perform them, however.

2 See Exhibit B.

 
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Male”); in which he waxed philosophically on his own predilection for circumcised penises and
a desire for an increasing universality of circumcision.t The guidelines that the Dr. Schoen-
chaired AAP Task Force promulgated were a direct product of his zealotry toward the subject
and the desire of the AAP and the medical community writ large to make circumcision-related
lawsuits more difficult moving forward, as they intentionally included numerous false and
fraudulent representations and omissions.

When Shingo was born in December 1997, the obstetrician who delivered him (Dr.
Jeffrey L. Chait M.D.) referenced the AAP guidelines’ in recommending circumcision to
Shingo’s father, Plaintiff Adam Lavine (“Adam”), and Adam relief upon Dr. Chait’s reference to
those guidelines in agreeing to the circumcision of Shingo. (Shingo’s mother, Plaintiff Aiko
Lavine, was incapacitated from a difficult labor at the time). If the AAP guidelines had not been
the product of a Task Force (and Chairman specifically) with fraudulent intent, and Adam had
not had them transmitted to him through Dr. Chait, he would not have given permission for the
circumcision. Shingo would not have been circumcised, and would not have suffered the damage
that he ultimately did from the two circumcisions. In fact, underscoring the fact that medical
malpractice/negligence (and the legal principles governing it that the AAP tries to pigeonhole
into this case) has little relevance to this case or the AAP’s liability to Shingo (except insofar as it
would heighten the damages), Shingo still would have suffered damages and his legal claims

would have remained unchanged even if the circumcision procedure had not been botched in any

3 See Exhibit A.

4 The AAP apparently sees no conflict of interest or ethical issue in appointing such a man as Chairman to a

supposedly objective task force, nor does it feel like it should bear any responsibility for the outcome them having
done so.

5 No subsequent task force on circumcision had been convened since 1989, so those guidelines were the most recent

at the time Shingo was born.
3

 
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way. He still would have lost his foreskin, and the tissue contained therein, the very loss of which
(irrespective of whether the procedures themselves were improperly done or not, which they
were in this case) is central to many of the issues Shingo is now experiencing. Accordingly, it is
the AAP’s fraud in promulgating the 1989 guidelines, and the damage that ultimately stemmed
from Adam’s reliance on those guidelines in making the decision to get Shingo circumcised that
is at issue in the case. Accordingly, all of the AAP’s attempts to get the case dismissed on the
basis that this is a mispleaded malpractice/negligence case against a malfeasant doctor are
misplaced. They utterly fail to account for the AAP’s own fraudulent conduct. Because the facts
alleged in this case support claims for intentional fraud and constructive fraud under New Jersey

law, the AAP’s Motion to Dismiss must be denied in its entirety.

STATEMENT OF FACTS

A. BACKGROUND ABOUT THE AAP AND CIRCUMCISION

The AAP is an organization of physicians who specialize in pediatrics. (Compl. para. 25)
It was created in part for the purpose of leading the pediatric community in setting standards of
practice and recommendations for practice. (Compl. para. 25) It does this by voluntarily issuing
advisory reports, recommendations, and guidelines for both the medical profession as well as for
the general public. (Compl. para. 25) Additionally, it is organized to protect the economic
welfare of its members, which it does by actively lobbying federal and state legislatures for laws
beneficial to its members. (Compl. para. 25) One of the issues the AAP has dealt with as part of
its operation is circumcision.

While neonatal male circumcision (the removal of the foreskin from the penis) is so

largely accepted as a normal and routine part of neonatal medicine in the United States that its

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existence and practice is rarely questioned, its controversial and nuanced history belies the
seeming banality with which it exists within American culture. It began thousands of years ago
for a variety of reasons having nothing to do with medicine. Despite entering American medicine
in the early part of the 20% century when it soon became entrenched as a cultural practice, it is
unnecessary, and in fact is extremely uncommon outside of American medicine.6 (Compl. para.
23-24) The AAP actually reflected this view when its Committee on the Fetus and Newborn
issued Standards and Recommendations of Hospital Care of Newborn Infants in 1971. (Compl.
para. 29). It stated that there are no valid medical indications for circumcision in the neonatal
period. (Compl. para. 29). Its ad hoc task force of that committee found no basis for changing
that statement in 1975, stating that there is no absolute medical indication for routine
circumcision of the newborn. (Comp!. para. 29) The AAP also noted the value of the foreskin
{the part removed during circumcision) in 1984. It published a pamphlet for the parents of
newborns entitled “Care of the Uncircumcised Penis.” (Compl. para. 31). The pamphlet noted
some of the functions of the foreskin: shielding the glans from the irritation from feces and urine
it otherwise would have, protecting it from irritation and the resultant meatal stenosis that can
occur, which is a narrowing of the urinary opening.” (Compl. para. 31). The AAP’s position on
circumcision took a dramatic turn in the 1980’s, however.

B. FRAUD BY THE AAP

6 Shingo Lavine’s mother, Aiko, is of Japanese heritage, where circumcision is so uncommon that she had never
heard of the procedure until immigrating to the United States. This is similar to Europe, where the procedure is
virtually unheard of as a routine part of neonatal medicine.

7 When the AAP published a similar pamphlet in 1994, it removed any references to the function of the foreskin,

without any rationale for doing so.
5

 
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During the 1980's a series of legal arguments against circumcision began springing up,
spurred in part by the fact that the medical profession was on record as saying there was no
legitimate medical basis for circumcision, yet it was still being widely practiced by them (largely
for cultural/aesthetic reasons). These arguments suggested that the American medical profession
could be held liable for soliciting consent for unnecessary genital surgery that had no valid
medical purpose (and thus making parental consent invalid), arising in several notable lawsuits
and law review articles. One was the 1984 case of Adam London, a California boy whose
mother, Trudie London, filed a lawsuit on his behalf against the physician who performed his
circumcision, his medical group, and the hospital where it was done. (Compl. para. 32) The
lawsuit claimed that Trudie London’s consent to her son’s circumcision was invalid since
circumcision itself constituted battery and violated several California statutes (the state where it
was brought), and therefore parental consent would be invalid. (Compl. para. 32) While the case
was ultimately unsuccessful, it received widespread publicity (including a feature in Time
Magazine). (Compl. para. 32).

The publicity that the London case received had the effect of widely alarming the medical
profession. They recognized the threat that looming litigation posed to their profession, and
reacted to it accordingly. The November 15-30, 1986 issue of Ob-Gyn News carried an article
entitled, “See Expanding Liability Risks in Circumcision,” which cited another California case
that contended the procedure violated the boy’s Constitutional right to privacy, safety and
happiness and also constituted a battery since the boy’s parents had no valid right to consent to
the unnecessary and unlawful procedure. (Compl. para. 34).

& See William Brigman, “Circumeision as Child Abuse: The Legal and Constitutional Issues,” 23 Journal of Family

Law 3, University of Louisville School of Law, 1984-85.
6
MER-L-000272-21 09/02/2021 11:44:20 PM Pg 7 of 30 Trans ID: LCV20212042113
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Perhaps no member of the medical profession was more alarmed and more defensive than
Edgar Schoen, M.D, Schoen was a friend of the defendant in the Lendon case and displayed a
fervor for defending circumcision that was so strident, it went beyond the expression of a policy
or medical preference and veered into a personal zealous fanaticism. Schoen, in addition to
lamenting the fact that “the anti-circumcision tide” might prevail, authored a poem whereby he
expressed a personal predilection of the circumcised penis, extolling its virtues and the fact that
the circumcised penis would become increasingly universalized.2 (Compl. para. 36). Titled the
“Ode to the Circumcised Male” and published in the American Journal of Diseases of Children,
Schoen viciously derided those opposed to circumcision and stated that the circumcised “ain’t
passe it will rise up in style.” (Compl. para. 36).

In 1988 or 1989, Schoen volunteered to chair the Task Force of the AAP on
Circumcision, and the AAP in fact appointed Schoen as chairman of the Task Force. (Compl.
para. 38). This AAP Task Force issued a “Report of the Task Force on Circumcision (RE9148),”
(“guidelines”) which was published in the AAP’s journal Pediatrics in August 1989. (Compl.
para. 39). The guidelines were a reflection of the chair’s, Edgar Schoen’s, passionate personal
predilection for seeing circumcision as universalized along with his professional fear and
opposition to the kind of litigation that was arising in part as a result of the AAP’s then current
position on circumcision. Accordingly, the guidelines contained numerous misrepresentations
and omissions meant to portray circumcision in a more positive light (with the ultimate
ostensible goal of making circumcision more universalized while mitigating against the risk of

potential lawsuits then arising). These included, but were not limited to: 1). Failure to disclose

9 See Exhibit A of Plaintiffs’ Complaint.

0 See Exhibit B of Plaintiffs’ Complaint.
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that circumcision is not routine neonatal medicine anywhere else in the world (Compl. para.
Para. 60), 2). failure to disclose the controversy around circumcision (Compl. para. 61), 3).
failure to disclose lack of training by many of the practitioners of circumcision (Compl. para.
68), 4). failure to disclose numerous complications from circumcision (including painful
erections, scrotal webbing, hypersensitivity of the glans many of those suffered by the Plaintiff in
this case) (Compl. para. 69), 5). failure to disclose the true complication rate of circumcision
(which is closer to 13%, with a severe complication rate as high as 2-4%), 6). failure to disclose
the function/value of the foreskin (Compl. para. 69), 7). failure to disclose the risk of
psychological harm that can result (Compl. para. 72), 8). failure to disclose that parents may feel
regret over the procedure (Compl. para. 44, 73), and 9). misrepresenting the efficacy of the
procedure in preventing UTI’s, penile cancer, and STD’s (Compl. para. 75-77).

C. THE BOTCHED CIRCUMCISION PROCEDURE

{Into this medical climate was born Shingo Lavine in 1997, without the AAP having
retracted or having issued any other policy statements or guidelines on circumcision in the
intervening years since the 1989 guidelines were issued.1' Shingo was born to Adam and Aiko
Lavine in December, 1997 at Princeton Medical Center in Plainsboro, New Jersey. Shortly after
his birth, on or about December 18, 1997, the obstetrician who did the delivery (Dr. Jeffrey L.
Chait, M.D.), circumcised Shingo. (Compl. para. 6). In the course of soliciting and obtaining the
permission of Shingo’s father, Adam Lavine!?, Dr. Chait told him that the AAP had issued

guidelines on circumcision. (Compl. para. 10). Dr. Chait then provided the AAP’s presentation

'| The AAP issued its next guidelines/policy statement on circumcision in 1999, a little over a year after Shingo was
born,

'2 Shingo’s mother, Aiko, was incapacitated on Percocet and morphine due to a difficult 36 hour labor and therefore
could not properly give her consent.
8

 
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on circumcision as promulgated through the 1989 guidelines, replete with a misrepresentation
about the efficacy of circumcision in preventing STD’s, penile cancer, and UTT’s, and a complete
omission about: 1), circumcision not being routine medicine anywhere else, 2). the function/
value of the foreskin, 3). the psychological harm that can result, 4). the complications of painful
erections, scrotal webbing and hypersensitivity of the glans arising, 5). the true complication
rate, 6). the regret of parents, 7). the controversy around the procedure, and 8). the improper
training of many practitioners. (Compl. para. 12).

Approximately a month after the circumcision, Shingo’s parents observed that Shingo’s
penis had not healed properly and looked unusual. (Compl. para. 13). Between January 10-15,
they brought Shingo to Shingo’s pediatrician, Dr. David Sharlin of Delaware Valley Pediatrics
with concerns about Shingo’s penis. (Compl. para. 14) After examining Shingo, Dr. Sharlin told
them that he believed that complications had arisen from Shingo’s circumcision, namely that not
enough foreskin had been removed. (Compl. para. 14) He recommended a follow-up with Dr,
Joseph Barone, Chief of Section of Pediatric Urology at Robert Wood Johnson University
Hospital, New Brunswick, New Jersey.

On January 21, 1998, Adam and Aiko presented Shingo to Dr. Barone for examination.
Dr. Barone observed blood and scarring on Shingo’s penis. He cleaned the penis, then diagnosed
Shingo as suffering from phimosis and buried penis. (Compl. para. 15) He recommended what
he called a “second circumcision.” (Compl. para. 15) Dr. Barone thereafter performed a second
circumcision surgery on Shingo. He wrote a letter later that day stating that, “Shingo should do
very well with the circumcision.” (Compl. para. 15).

D. DELAYED DISCOVERY OF FRAUD

 
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|

Shingo, however, did not do very well after his circumcision. While the circumcision may
initially have appeared to be a success, Shingo began noticing physical complications on his
penis. (Compl. para. 16} These complications included painful erections, pubic hair bearing
down to the circumcision scar line, impaired sexual functioning, meatal stenosis (narrowing of
the urethral opening), scrotal webbing, and hypersensitivity of the glans. (Compl. para. 16). In
part due to the pervasive normality of circumcision within American culture, the difficulty of |
getting accurate information on the subject, and the latency or delayed onset of some of the
circumcision related maladies, Shingo was not able to attribute the complications to the AAP’s
fraud until September 25, 2020. (Compl. para. 23). It was at this point that the Lavines spoke
with the law professor Peter W. Adler, an expert on circumcision and the law. He informed them
that the foreskin is a natural body and the most sensitive part of the penis, men value it, and
physicians in most other countries outside the United States leave it alone. He further explained
that unnecessary surgery on a child violates the ethical and legal right of boys and the men they
become to bodily integrity and self-determination. (Compl. para. 23). This was the first time that
the Lavines linked the maladies that Shingo had been experiencing to the AAP’s fraud, as their
social background inculcated them in the normality of circumcision, and came shortly on the
heels of Shingo’s first attempts to deal with the effects of the circumcision related maladies he
was experiencing. (Compl. para. 24)

For several months, Shingo had become became involved with Foregen, a medical
organization devoted to regenerating foreskin, specifically the specialized structures including
nerve endings that are removed or destroyed during circumcision. (Compl. para. 19), On or about

June 15, 2020, Shingo began partial restoration of his foreskin, a highly intensive daily routine to

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attempt to recover the tissue lost during the circumcision. (Compl. para. 20) It requires wearing
weights attached to the penis and pulling for 3-4 hours per day for 5-10 years, which is very
uncomfortable and time consuming. (Compl. para. 20). Shingo has spent more than 700 hours
over the course of almost 1,000 sessions as part of the process to partially “restore” his foreskin.
(Compl. para. 20). On July 29, 2020, Shingo began psychotherapy to try to cope with the severe
emotional distress he feels about his circumcision, but to date, it has not diminished his distress.
(Compl. para. 21). This budding awareness led to the aforementioned September 25, 2020

meeting with Professor Adler whereby they first became aware of the AAP’s fraud.

LEGAL STANDARD

Under New Jersey law, a Motion to Dismiss may only be granted when a cause of action
cannot be suggested by the facts alleged in the Complaint. Printing Mart-Morristown v. Sharp
Electronics Corp., 116 N.J. 739, 746 (1989); Rieder v. State, 221 N.J. Super. 547, 552 (App. Div.
1987). In reviewing the Complaint for facts that would suggest a cause of action (and therefore
preclude a Motion to Dismiss), the Court must search in depth and with liberality, “with a
generous and hospitable approach.” Printing Mart-Morristown, 116 N.J. at 746. Every
reasonable inference of fact must be given to the Plaintiff, and the Court is to give no weight to
the likelihood of success, Id; Lieberman v. Port Auth. of N.Y. &N.J., 132 N.J. 76, 79 (1993), As
such, Motions to Dismiss are extraordinary remedies that Courts should only grant in the rarest
instances. Id. The same standard applies in fraud cases, except that a fraud claim requires the
particulars of the of the wrong, including dates to the extent practicable. Rule 4:5-8.

LEGAL ARGUMENT

L THE LAVINES’ CLAIM IS BASED ON THE AAP’S AFFIRMATIVE ACTS OF
FRAUD, NOT LACK OF INFORMED CONSENT

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The AAP attempts to misrepresent what this case is truly about by stating that the gravamen
of the Lavines’ claim is lack of informed consent and medical malpractice (due to a doctor’s
failure to fully inform them of the risks of circumcising their son and the subsequent damage
suffered as a result of the circumcision). However, the central essence of the claim is the
Lavines’ reliance on the AAP’s fraudulently promulgated guidelines on circumcision, and the
AAP’s attempts to frame it differently are downright deceptive. As shown in the following
section of this Legal Argument, the law is clear that the AAP faces trade association liability
when it makes negligent or, as here, fraudulent claims that injure a plaintiff, and the AAP’s
invocation of law that applies specifically to malpractice/negligence cases where a doctor, not a
trade association is the liable party, is totally misplaced.

One of the primary reasons that Adam chose to circumcise Shingo is that he was told that the
AAP had issued guidelines on circumcision showing that it reduced the incidence of urinary tract
infections, penile cancer, and sexually transmitted diseases, and that circumcision was a minor,
safe and harmless procedure, without any mention of the controversy around circumcision, the
resentment some men feel about, the true complications that can result, or the function/erogenous
purpose of the foreskin. (Compl. para. 10-12, 40, 44, 69). The AAP—-which portrays itself as an
authority on circumcision, which the obstetrician invoked as an authority on circumcision, and
which Adam understood to be an authority on circumcision—thus claimed, expressly and by
implication, that these are good and valid medical reasons to have boys circumcised. More
importantly, it omitted very crucial reasons why a parent like Adam would choose not to elect it.

The AAP tries to limit their responsibility for inducing the Lavines’ circumcision decision by

characterizing their role as being relevant only for evaluating whether the Lavines had enough

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information from the doctor to provide informed consent. However, the allegations in the
Complaint belie this assertion, particularly when put into the context of how the information (or
lack thereof) that the Lavines relied on in reaching their circumcision decision can be directly
linked back to the AAP’s intentionally fraudulent manner of promulgating the 1989 guidelines on
circumcision, as opposed to the independent failure on the part of the doctor to properly inform
them of the risk/benefit ratio of circumcision. For instance, the AAP failed to make any mention
in its 1989 guidelines on circumcision that the foreskin has a function (which it had previously
discussed at length in a 1984 pamphlet for parents of newborns entitled “Care of the
Uncircumcised Penis”), namely protecting the head of the penis from the irritation caused by
feces and urine, which in turn can cause ulcers, meatitis (inflammation of the urinary opening),
meatal stenosis (narrowing of the urinary opening), all of which virtually never occur in
uncircumcised penises. (Compl. para, 31, 40). Additionally, the guidelines failed to disclose: the
controversy around the procedure (Compl. para. 33, 34, 61), the growing opposition and
resentment/regret about the procedure (Compl. para. 32, 44, 72, 73), the fact that UTI’s can be
easily treated with antibiotics as they are in girls, and that gitls have many times more UTI’s than
boys, circumcised or not (Compl. para. 75), the fact that circumcision is unique as a routine
neonatal practice in the United States and uncommon elsewhere (Compl. para. 60), and
numerous complications of circumcision, including the complications suffered by Shingo like
painful erections, scrotal webbing, hypersensitivity of the glans and unsatisfactory cosmetic
appearance. (Compl. para. 69). In addition, the AAP makes several affirmative
misrepresentations in the guidelines. It cites the risk of complications as being 0.2% and 0.6%,

when the true rate of complications is 13% and the rate of the severe complications is 2-4%.

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(Compl. para. 69). It also falsely claims that circumcision is a valid prophylactic against penile
cancer, deviating from its own 1975 Policy Statement on circumcision which found that there
was no solid evidence for using circumcision to prevent penile cancer (Compl. para. 76).

In light of this, any lack of informed consent (to the extent the AAP would try to frame the
Lavines circumcision decision around that) cannot be delinked from the guidelines the AAP
promulgated in 1989. This means that any informed consent argument here would need to
incorporate the acts of the AAP into it, unless the AAP were to take the logically absurd position
that the doctor failed to elicit proper informed consent from the Lavines by following the very
guidelines that the AAP promulgated. However, the case law the AAP so heavily relies on in
advancing the argument that this case is one about lack of informed consent, is rendered
inapplicable by the nature of the AAP’s involvement in this case. Under the AAP’s own
argument, “informed consent is a negligence concept predicated on the duty of a physician to
disclose to a patient information that will enable him to evaluate knowledgably the options
available and the risks attendant upon each before subjecting the patient to a course of
treatment.” Howard v. Univ. of Med. & Dentisiry of New Jersey, 172 N.J. 537, 548 (2002).
Furthermore, the case law that it cites for the proposition that this is an informed consent case
has reasoning that is specific not just to the doctor-patient context, but even more specifically to
malpractice claims within the doctor-patient context. The court in Howard articulates this by
stating that they are reluctant to allow a fraud claim when it arises exclusively from the doctor-
patient relationship. Jd at 554. To the extent that the AAP references “Howards Test” as a
dispositive holding that controls here is deceptive. The so-called Howard Test is only referenced

in a parenthetical to a New York case (see Spinosa v. Weinstein, 571 N.Y.S.2d. 747, 753

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[N.Y.App.Div.1991]), and its holding (that a doctor’s concealment of his own malpractice does
not give rise to a claim of fraud and that a fraud claim can only arise when it occurs separately
from and subsequent to the malpractice and only when it gives rise to damages separate and
distinct from those flowing from the malpractice) only applies to the specific circumstance of a
physician concealing their own malpractice, not as a broad-based principle of law, as the AAP is
trying to morph it into. (The reasoning makes sense since in the malpractice context where the
person committing the fraud and the malpractice are one in the same, since the claims would and
could merge into one another and otherwise would be duplicative). Here, the Lavines are not
alleging mere negligence by the AAP, nor are they alleging medical malpractice by the AAP, and
nor are they even continuing to allege any claims at all against the doctor who performed the
circumcision; they are alleging fraud against the AAP. Thus, any argument that tries to
pigeonhole this case as being about lack of informed consent lacks merit. This case is about fraud
committed by a trade association (the AAP), and accordingly the law establishing liability for
trade associations must apply.

i. THE AAP BEARS TRADE ASSOCIATION LIABILITY TO THE GENERAL

PUBLIC AND HENCE THE LAVINES FOR HAVING PROMULGATED THE
1989 GUIDELINES

The New Jersey Supreme Court has found that trade associations bear responsibility to
members of the general public who are damaged as an indirect result of the trade association’s
policy positions (notwithstanding whether there is any direct relationship between the trade
association and the damaged party, and regardless of whether the damaged party was even told

about or had heard about the association or its position). Snyder v. American Association of

Blood Banks, 144 N.J. 269, 292-93 (1996). In Snyder, the plaintiff contracted HIV from a blood

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transfusion. The defendant American Association of Blood Banks (“AABB”) had no connection
with the transfusion, whatsoever, except for their recognized role as being a leader in setting
policy in the blood banking/transfusion industry. Jd at 277-78, Their purpose, as a “professional,
non-profit, scientific and administrative association,” was to develop and recommend standards
on the practice of blood banking, to help promote public health, and to conduct numerous
programs for communication and education among organization members and the public at large.
Id at 278. (The AABB had falsely claimed that blood transfusions are safe), Notwithstanding the
fact that the AABB had no direct or immediate connection with the damaged plaintiff, the Court
found that the unique and dominant role of the AABB in blood banking, and the extent of its
control over its institutional members established the requisite relationship between AABB and
blood product recipients, Jd at 275. The Court specifically found that the absence of a direct
relationship between the AABB and blood recipient was not dispositive. Jd at 292. Instead, it
found that the determination of the existence of a duty ultimately is a question of fairness and
policy, and that am important, although not dispositive consideration, is the foreseeability of
injury to others from defendant’s conduct. /d. In reaching its holding finding liability against
AABB, the Court stated that the AABB sought and cultivated tesponsibility of blood safety by
their words and conduct that the public ultimately relied on. Jd at 293.3

Here, the AAP’s role is remarkably similar to that of the AABB and it should be found
responsible under the same theory of (trade association) liability. Like the AABB, the AAP is a
trade association that is organized to protect the economic welfare of its members, and it actively

a
13 See also Matthew R. Gianetti, Circumcision and the American Academy of Pediatrics: Should Scientific
Misconduct Result in Trade Association Liability, 85 lowa L. Rev. 1507 (2000). Gianetti asserts in his law review
article that the AAP’s 1989 guidelines on circumcision constituted fraudulent misrepresentation in that they violated

 
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lobbies federal and state legislatures for laws beneficial to its members. It also claims to lead the
pediatric medicine community in setting standards of practice and recommendations, and
guidelines for both the medical profession as well as for the general public. (Compl. Para. 25).
Additionally, by its words and conduct, the AAP invites other medical associations such as the
American College of Obstetricians and Gynecologists, obstetricians and gynecologists,
pediatricians, other physicians, and the general public to rely upon the AAP’s reports,
recommendations and guidelines. (Compl. para. 28). Thus, finding that the AAP owed no duty to
the Lavines for the guidelines it disseminated that ultimately induced their circumcision decision
would be to completely ignore the unequivocal holding of Snyder that trade associations owe a
duty to the general public for the dissemination of position statements and guidelines that
ultimately impact the public.

Ill. THE LAVINES’ CLAIM IS NOT TIME BARRED

Since this is a fraud case (and not a medical malpractice one), the statute of limitations could
not begin tolling until Shingo discovered he had been defrauded, which in this case occurred on
September 25, 2020 when they met Professor Peter Adler, who first explained the link between
Shingo’s physical and psychological maladies from the circumcisions, and the AAP’s fraud.
(Compl. para. 23). Under New Jersey law, the statute of limitations for fraud is six years,
N.JS.A. 2A:14-1, but the statute of limitations is tolled by a “discovery rule,” which holds that
the limitations period does not commence until the fraud was discovered, or through reasonable
diligence, should have been discovered. Catena v. Raytheon, 447 N.J. Super. 43, 53 (App. Div.
2016); Simpson v. Widger, 311 N.J. Super. 379, 391 (App. Div. 1998). Thus, the clock only

started to run on the Lavines’ claims against the AAP on September 25, 2020, and they brought

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suit on February 3, 2021, within five months and thus well within the allowable six-year statute
of limitations timeline.

The reasoning that underpins that rationale for the discovery rule applies remarkably well to
this case. The rule is designed to prevent a defendant from benefitting its own deceptive conduct,
insofar as it impedes a plaintiff's ability to even know he has been defrauded, and to prevent a
defendant from taking advantage of its own fraudulent conduct being part of the reason for the
delay in prosecuting the claims. Catena, 447 N_J. Super at 54. As such, mere suspicion of a claim
is insufficient to stop the tolling of the statute of limitations. Jd. Additionally, courts have found
that where the nature of the case or injury makes discovery less readily ascertainable, the tolling
of the statute of limitations becomes more critical. Vispiano v. Ashland Chemical Co., 107 N.J.
416, 434 [1987]. In Vispiano, which involved a toxic tort, the court held that the injured person
was unaware of the cause of his injury, and lacking specialized medical knowledge, he could not
in the exercise of reasonable diligence have discovered it. Jd at 435.

The same reasoning applies to the AAP’s claims against the AAP. Shingo had not conceived
of, let alone even thought about, the AAP’s fraud in promulgating the 1989 guidelines that
ultimately induced Adam into choosing circumcision for him until he met Professor Peter W.
Adler on September 25, 2020. (Compl. para. 23), This in part is due to the fact that the AAP’s
fraud involves complex medical and legal claims. Laypeople know little or nothing about
medicine ot about the law, so it would have been exceptionally difficult, if not impossible for the
Lavines to have discovered the fraud until it was explained to them.

Moreover, it was the AAP’s very own acts of deception and concealment bear directly on this

case insofar as it applies to the Lavines ability to reasonably discover the AAP’s fraud. As has

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already been noted, the AAP did not disclose the fact that circumcision is uncommon as routine
neonatal medicine in other countries (Compl. para. 60), did not disclose the controversy
surrounding circumcision (Compl. para. 61), did not disclose the parental regret and angst that
can result from it (Compl. para. 44, 73), did not disclose the breadth and depth of complications
that result, including many of the very complications Shingo suffered from (Compl. para. 69),
did not disclose the function of the foreskin (Compl. para. 31, 40, 71), and did not disclose the
psychological damage that can result from it (Compl. para. 72). The comprehensive and
deliberate concealment/non-disclosure of these facts apply write large, together with the fact that
the concealment involved facts about medicine and health (which the Lavines knew nothing
about) made it impossible for the Lavines to link Shingo’s maladies (which he was beginning to
take active note of in June, 2020) to the AAP’s fraudulent conduct. It took the September 25,
2020 discussion with Professor Peter W. Adler to do that.

The AAP’s great leaps to transform this into a medical malpractice case are unavailing
(though perhaps understandable given how this claim could only be time barred if it were a
medical malpractice claim, not a fraud claim), as are its arguments about how and why the
Lavines should have or could have discovered the fraud earlier than they did. They erroneously
treat the complications from the first circumcision (which could have been a medical malpractice
claim had it been brought, but it was not), as being dispositive to the claim in this case. They
state that “these allegations concede that the Lavines were on notice in January 1998 that the
circumcision had not been performed properly.” This might be relevant if the claim were against
the first doctor for malpractice, but it is not. It is not at issue whether the operation was

performed negligently or badly. The Lavines are alleging that the AAP damaged them by

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inducing them into circumcising Shingo at all, and for all damage that has ultimately accrued
from that decision. Thus, any notice the Lavines may have been on about damage from the first
botched circumcision is ultimately irrelevant. What matters is that the Lavines had no idea they
had been defrauded until they spoke with Professor Peter W. Adler on September 25, 2020.

Additionally, the AAP’s argument that the Lavines could have obtained a copy of the 1989
report at issue here is woefully misplaced since that is the very document by which the
fraudulent information was disseminated; reading it would have only further exacerbated the
fraud, since the Lavines would have been unable to discern from the guidelines themselves
whether they were fraudulent.

To the extent the AAP argues that the Lavines had access to medical articles referenced in the
Complaint, this is a stretch, especially in this phase of litigation where every inference is to go in
the Plaintiffs favor, since access to many of these articles is limited and since it is unreasonable
to expect a layperson to have the wherewithal to look for them (especially in this context where
knowledge about circumcision issues is not readily disseminated). More importantly, Shingo did
not begin becoming actively aware of the problems manifesting from his circumcisions until
June, 2020 (Compl. para. 17) so any article that may have made them aware of the AAP’s
wrongdoing would not have become relevant until this point.

IV. THE AAP IS NOT JUST A MERE PUBLISHER

The AAP’s characterization of itself as a mere publisher that should be shielded from liability
is grossly inappropriate and the court must reject it as patently absurd on its face. The AAP in
this case went so far beyond just acting as a mere publisher, that it constrains credulity to

conceive how it could have the temerity to even proffer such an argument. It convened a Task

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Force on circumcision, it put as Chair of that Task Force a man so zealously in support of
circumcision that he authored a poem extolling his own predilection for boys’ circumcised
penises (See Exhibit A; Compl. para. 38), its members made up the Task Force (See Exhibit B),
and it claims to lead the pediatric medicine community in setting standards of practice and
recommendations for practice (Compl. para. 25), These are not the actions of a mere publisher,
as the AAP would try to deceive the court into believing as a way of shielding itself from
liability. The fact that it also published the guidelines that are at question here in its journal,
Pediatrics, and thereby also became a publisher, is a collateral happenstance since it is being
sued for all of its actions that are separate and apart from its role in publishing. By way of
illustration, had the guidelines been issued in another medium where the AAP was not a
publisher, they would bear the exact same responsibility. Likewise, had they published the exact
same guidelines in their journal, but promulgated by a completely independent 3" party
unrelated to the AAP, their liability would not be what it is here, The AAP is liable as an active
promulgator of the guidelines, not as a passive publisher, and any attempt to frame their role
otherwise is misplaced.

V. THE LAVINES HAVE PROPERLY PLEADED INTENTIONAL FRAUD

In order to prevail on a common law fraud claim in New Jersey, a plaintiff must show that
defendant: 1). Made a representation or omission of a material fact, 2). With knowledge of its
falsity, 3). Intending that the misrepresentation be relied upon, 4). Which resulted in reasonable
reliance, 5). With the plaintiff suffering damages. Depolink Court Reporting & Litigation

Support Services v. Rochman, 430 N_]. Super. 325, 336 (App. Div. 2013),

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Here, the Lavines have successfully plead all five elements of fraud. Therefore, the AAP’s
Motion to Dismiss must be denied in its entirety.

A. THE LAVINES ALLEGE NUMEROUS MISREPRESENTATIONS AND
OMISSIONS

The Complaint is replete with allegations of material misrepresentations and omissions
by the AAP. These include include: failure to disclose the function of the foreskin (Compl. para.
31, 40, 71), failure to disclose parental anger/regret (Compl. para. 44, 73), failure to disclose
financial, cultural and religious biases (Compl. para 57-59), failure to disclose that circumcision
is extremely uncommon as routine neonatal medicine outside the United States (Compl. para.
60), failure to disclose the controversy around circumcision (Compl. para. 61), failure to disclose
lack of training by practitioners (Compl. para. 68), failure to disclose the very complications that
Shingo suffered from (Compl. para. 69), failure to disclose the risk of psychological harm
(Compl. para. 72), misrepresenting the true rate of complications (Compl. para. 69), and
misrepresenting the efficacy of circumcision in preventing UTI’s, penile cancer and STD’s
(Compl. para. 75-77).

Faced with these allegations, the AAP invokes several erroneous arguments. First, it tries
to imply that the misrepresentations of the AAP are non-actionable statements of opinion,
notwithstanding the fact that none of the omissions and misrepresentations listed could be
considered opinion even if the AAP were to be given the most favorable inference (which they
are not for purposes of this motion). In support of this position, the AAP takes one of the alleged
misrepresentations (while ignoring or barely mentioning the litany of those listed above), which
is that the AAP misrepresented the safety of circumcision. (Compl. para. 67). Even if the AAP

were correct in its assertion that this is opinion, this is just one of mumerous other

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misrepresentations and omissions that are unequivocally fact based, yet the AAP has chosen to
inexplicably almost completely ignore in its brief.

The AAP also tries to defend itself by invoking a statement in the 1989 guidelines that the
report is providing a general opinion about safety, not specifically tailored to a particular patient
and that the recommendations do not indicate an exclusive course of treatment or procedure to be
followed. However, this statement does not undo the damage that the numerous factual
misrepresentations and omissions caused. New Jersey has made clear that liability waivers are
unenforceable to the extent that they try to exculpate against grossly negligent conduct since it
would be against public policy to indemnify conduct that goes beyond mere negligence.
Steinberg v. Sahara Sam’s Oasis, LLC, 226 N.J. 344, 359 (2016). Here, the AAP is trying to
indemnify its own willful and fraudulent musrepresentations in clear violation of New Jersey
policy as articulated in Steinberg.

To the extent that the AAP tries to invoke the learned intermediary doctrine, its
invocation in this context would lead to a logically absurd outcome, and is barred under the law.
The AAP is essentially saying that the doctor performing a circumcision has an obligation as
learned intermediary to advise the Lavines not to follow the AAP guidelines. More importantly,
the learned intermediary doctrine, to the extent it would apply beyond the context of drug and
medical device manufacturers, imposes liability notwithstanding the presence of a learned
intermediary when the health-care provider (or iearned intermediary) is not wamed of risks.
Perez v. Wyeth Labs, 161 NJ. 1, 14 (1999). Here, the AAP’s numerous omissions and
misrepresentations bar the invocation of the learned intermediary doctrine pursuant to the

holding in Perez.

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The AAP’s contention that it has no duty to disclose when a fraud claim is based on
silence or concealment is equally unavailing. The case the AAP cites to advance this proposition
actually holds entirely the opposite, as it states: “Although a party may keep absolute silent and
violate no rule of law or equity, yet if he volunteers to speak and to convey information which
may influence the conduct of the other party, he is bound to discover the whole truth.” Berman v,
Gurwicz, 189 N.J. Super. 89, 93 (Ch. Div. 1981). This is important. Here, once the AAP has
chosen to make affirmative statements on circumcision, it became liable for any concealments on
the subject, and there were many, for not telling the whole truth. Even if the AAP’s
characterization of the law on concealment were entirely accurate, the Snyder case discussed
earlier also makes clear that the AAP (as a trade association promulgating guidelines) did have a
duty to the Lavines, thereby implying a duty to disclose and not conceal.

B. THE LAVINES HAVE PROPERLY ALLEGED THE AAP’S
KNOWLEDGE OF FALSITY

The Lavines assert multiple allegations that establish knowledge of falsity on the part of
the AAP. First, the AAP deliberately omitted any discussion of the function of the foreskin from
its 1989 guidelines. (Compl. para. 31, 71). This was despite the fact that its own pamphlet from
1984 (but which was subsequenily removed from their 1994 pamphlet) for the parents of
newborns titled “Care of the Uncircumcised Penis,” went into great detail about the function of
the foreskin. (Compl. para. 31). Thus, the AAP intended to conceal that the foreskin has
functions and is not a useless piece of skin. Second, the AAP failed to disclose that there is any
controversy surrounding circumcision. (Compl. para. 61). This was because the AAP was on
notice of at least two lawsuits claiming that circumcision constituted a common law battery

(Compl. para. 32, 34), and an article published by the University of Louisville Schoo! of Law
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characterizing circumcision as “child abuse.” (Compl. para. 33). The chair of the 1989 Task
Force on Circumcision that issued the guidelines, Dr. Edgar Schoen, M.D., even expressed his
alarm at the rising “anti-circumcision tide” prevailing and the increasing refusal of third-party
payers to cover the procedure. (Compl. para. 36, 38), Lastly, the AAP knowingly and vastly
understated the rate of complications despite having a urologist on the committee (Frank
Hinman, Jr., who was the author of a major text on pediatric urologic surgery) who had to know
the understatement of complications given that a significant part of the practice of pediatric
urologists is devoted to trying to repair circumcision complications. (Compl. para. 67).

The AAP attempts to deflect from this issue by pointing to the allegedly well-documented
body of evidence in its guidelines. This documentation does nothing to disprove the allegation
that, notwithstanding the fact that some data in the guidelines may have been well-supported,
other pieces of data were either omitted or misrepresented. Furthermore, the AAP chooses to
focus their argument related to this issue on one point in the guidelines (UTI’s), while making no
mention of the AAP’s knowledge of falsity of the issues listed in the preceding paragraph.

C. THE LAVINES HAVE PROPERLY ALLEGED THAT THE AAP
INTENDED FOR THEM TO RELY ON THEIR
MISREPFRESENTATIONS AND OMISSIONS AND THE LAVINES
DID SO RELY

While the general rule on fraud is that there must be actual receipt and consideration of
any misstatement, courts allow for “indirect reliance” to be the basis for a fraud claim. Kaufman
v. i-Stat Corp., 165 N.J. 94, 97 (2000). This allows for a plaintiff to prove a fraud action when he
or she heard a statement not from the party that defrauded him or her, but from the party’s agent

or from someone to whom the party communicated the false statement with the intention that the

victim hear it, rely on it, and act on it to his or her detriment. /d at 108. Thus, if a party to a
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transaction makes a false statement to another party, intending or knowing that the other party
will hear it and rely on it, and the second party actually hears the substance of the
misrepreseniation by means however attenuated, and considers the actual content of that
misrepresentation, then that person has established indirect reliance to support a fraud claim. Id
at 111. Here, the Lavines plainly and clearly allege that the doctor who circumcised Shingo told
them that the AAP had issued guidelines on circumcision that extolled its benefits in reducing the
incidence of UTI’s, penile cancer and sexually transmitted diseases. (Compl. para. 10).
Additionally, the AAP’s numerous alleged concealments were equally “disseminated” insofar as
the doctor provided a similar non-disclosure of these issues. The AAP’s own guidelines (See
Exhibit B to the Complaint) undercut any argument it might make that it was not its intent for the
information to be disseminated to parents like the Lavines, as the last sentence of the guidelines
tells the doctors (who ate presumably the intended direct recipients of it) how to communicate
the information contained within it to parents.

To the extent that the AAP argues that neither the Lavines nor the doctor reviewed the
guidelines, it cannot make this argument as to the Lavines since the doctrine of indirect reliance
applies directly to situations like the one at hand here, and it cannot make it as to the doctor since
his own statement referencing the guidelines disproves the very point the AAP is trying to make.
The AAP attempts to work around this issue by trying to sow confusion with a semantical
argument about the proper terminology for the 1989 guidelines, and whether the doctor’s
statement referencing guidelines was actually referring to Exhibit B. This argument holds no
merit, however, since the contents of the doctor’s statement would reasonably indicate he was

referring to the 1989 guidelines. The inference most reasonable to the plaintiff (which the court

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must defer to for purposes of this motion), is that this is what the doctor was referring to, not
some other illusory document.

Additionally, the Lavines have alleged the requisite malintent on the part of the AAP in
inducing their reliance, in that they have shown the AAP intended to obtain an undue advantage.
For one, there is tremendous financial incentive for doctors to continue performing circumcisions
routinely. (Compl. para. 43). The Chair of the Task Force also had such an intense personal
desire to perpetuate the practice, that he actually authored a poem discussing his predilection for
boys’ circumcised penises. (See Exhibit A to the Complaint; Compl. para. 36).

D. THE LAVINES HAVE PROPERLY ALLEGED PROXIMATE
DAMAGES AND THE QUESTION OF SUPERSEDING CAUSE
SHOULD BE LEFT TOA JURY

Here, the Lavines have made a prima facie case that the damage Shingo suffered, while it
may have been exacerbated by the negligence of the doctors in how they carried out the
circumcisions, is at root the result of the fact that the circumcisions were carried out at all, which
can be traced directly back to the guidelines the AAP promulgated. More importantly, the
damage that Shingo suffered was a reasonably foreseeable outcome and a normal incident of risk
related to circumcision, thought this is a question that a jury would need to decide, not a Judge in
the Motion to Dismiss phase of litigation.

While New Jersey does recognize the doctrine of superseding cause, it notes that this
question is ordinarily one left to a jury as a fact-based question, rather than one that should be

decided in a motion to dismiss, as is the case here. Lynch v. Scheininger, 162 NJ. 209, 235

(2000). Additionally, superseding, or intervening causes that are reasonably foreseeable or are

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normal incidents of a risk do not relieve a tortfeasor of liability. Cruz-Mendezy. ISU/Insurance
Services, 156 N.J. 556, 575 (1999).

VI. THE LAVINES HAVE PROPERLY ALLEGED CONSTRUCTIVE FRAUD

Under New Jersey law, constructive (or equitable) fraud has the same elements as intentional
fraud, except that it does not require a showing of knowledge of falsity. Daibo v. Kirsch, 316 N.J.
Super. 580, 588 (App. Div. 1999). Thus, even an innocent misrepresentation can constitute
constructive, or equitable, fraud. Ledley v. William Penn Life Ins. Co., 138 N.I. 627, 635 (1995).
Case law from other jurisdictions helps elucidate the doctrine more extensively.'4 The California
Appeals Court observed that, “Most acts by an agent in breach of his fiduciary duties [to the
principal] constitute constructive fraud.” Salahutdin y, Valley of California, Inc., 24 Cal. App. 4th
555, 562 (1994). In such a case, a presumption of fraud arises in order to prevent unfairness to
the plaintiff. A fiduciary is liable to his principal for constructive fraud even though his conduct
is not actually fraudulent. Jd. Courts have found constructive fraud can arise from any unfair
conduct: a false statement or omission that misleads the plaintiff such as a negligent
misrepresentation (see Federal Land Bank Ass'n of Tyler v. Sloane, 825 $.W.2d. 439 [Tex.
1991]); a material omission or failure to disclose what a fiduciary knew or should have known
(see Karle v. Seder, 214 P.2d. 684 [Wash. 1950]); unfair conduct such as self-dealing; acting in
bad faith, disloyally, consciously disregarding duties, or for personal gain (see Ryan v. Gifford,
918 A.2d. 341, 357 [Del. Ch. 2007]); and taking advantage of a position of trust, (see White v.

Consolidated Planning, Inc., 603 S.E.2d. 147, 156 [N.C. 2004]), gaining an advantage, or

4 See Peter W. Adler, Robert Van Howe, Felix Daase, and Travis Wisdom, Is Circumcision a Fraud?, 30 Cornell
Journal of Law and Public Policy 1 (Fall, 2020).
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obtaining a possible benefit. (see Dawson v. Hummer, 649 N.E.2d. 653, 661 [Ind. Ct. App.

1995]).

Here, it has been established that under Snyder, the AAP (as a trade organization) owed a
duty to the general public and hence the Lavines, and that by egregiously breaching this duty
committed constructive fraud for which the court must hold them liable. The AAP has abused its
position as a respected institution for medical knowledge and unbiased information that the
public can turn to, by convening a Task Force On Circumcision that promulgated guidelines on
circumcision not for the purpose of advancing the public good and the profession of medicine as
a whole, but to enable its Task Force Chair’s zealous and warped personal predilection for
circumcision and its own objective to shield the medical profession from circumcision-related
litigation. It did this through numerous omissions and misrepresentations documented throughout
this brief and the Complaint. In doing so, it has threatened the integrity of the medical profession
as a whole, and given undue credence to those who might try to use this one instance of
misconduct to impugn the medical profession as a whole. If the court finds in favor of the AAP
here, it is granting license to institutions like the AAP to engage in such conduct with impunity.
As such, this court must hold the AAP liable (under the doctrine of constructive fraud, as an
alternative to intentional fraud).

VIE, PUBLIC POLICY MANDATES A RULING IN PLAINTIFFS’ FAVOR

A ruling in defendant’s favor would be an egregious injustice and send a heinous message
to all medical trade associations (like the AAP) on which the general public and the medical
community writ large rely upon for accurate and honest information. It would send the message

that these associations can act with impunity, and without any concern that they will be held

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accountable for their actions, no matter how wantonly they may be acting. Here, the AAP had a
known zealot on circumcision (who was on record as extolling his personal predilection for
circumcised penises and the desire for the universality of circumcision) as chair of its Task Force
on Circumcision, which then promulgated a set of guidelines through its policy statement in
1989 that contained a litany of misrepresentations and omissions that were all in favor of
circumcision. The AAP did this in response to the threat of lawsuits that were beginning to spring
up in the 1980’s. It now shamefully seeks to shirk any and all responsibility for this, despite the
fact that the Plaintiff has stated that it was the AAP’s guidelines, disseminated to them through
their obstetrician Jeffrey Chait, that induced them to have the circumcision done that has
ultimately led to Shingo’s damages. The court cannot allow this, and must hold the AAP liable
for its intentional and constructive fraud and the damages caused thereby.
CONCLUSION

For the foregoing reasons, the defendant, American Academy of Pediatrics’ Motion to

Dismiss must be denied in its entirety.

ANDREW DELANEY, ATTORNEY AT LAW, LLC
Attorney for Plaintiffs Shingo, Aiko and Adam Lavine

Dated September 2, 2021 BY: LO Ay

ANDREW DELANEY, ESQ.

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SUPERIOR COURT OF NEW JERSEY
SHINGO, AIKO AND ADAM LAVINE, LAW DIVISION: MERCER COUNTY
DOCKET NO.: MER-L-000272-21
Plaintiffs,
Civil Action
vs.

PRINCETON MEDICAL GROUP, P.A.
AND AMERICAN ACADEMY OF
PEDIATRICS, INC.

Defendant(s).

NOTICE OF DISMISSAL AS AGAINST
PRINCETON MEDICAL GROUP, P.A.

 

 

 

The above-captioned is hereby dismissed in its entirety, with prejudice, solely as against
defendant, Princeton Medical Group, P.A., without costs as to any party as against another.

ANDREW DELANEY, ESQ.
Attorney for Plaintiffs,
Shingo, Adam and Aiko Lavine

Dated September 2, 2021

 

 

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Stephanie Vala, Esq
Atoreray for Defendant,
Princesron Médcol Grove \P.A

 

 
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MERCER COUNTY COURTHOUSE
CIVIL CASE MANAGMENT OFFICE
175 SOUTH BROAD ST P O BOX 8068
TRENTON NJ 08650-0068
DISMISSAL NOTICE

TELEPHONE - (609) 571-4200 EXT. 74432,NANCY NOCELLA TEAM 050
COURT HOURS: 8:30 AM - 4:30 PM

DATE: SEPTEMBER 10, 2021
RE: LAVINE ADAM VS AMERICAN ACADEMY OF PEDIATRIC
DOCKET: MER L -000272 21
PARTY: AMERICAN ACADEMY OF

PLEASE TAKE NOTICE THAT ON NOVEMBER 09, 2021 (60 DAYS FROM DATE OF
THIS NOTICE), THE COURT WILL DISMISS THE ABOVE PARTY OR PARTIES FOR LACK OF
PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
REQUIRED UNDER THE ABOVE RULES IS TAKEN.

HON DOUGLAS H. HURD ATT: ANDREW S. DELANEY
ANDREW DELANEY, ATTORNEY

 

JUDGE 6 SOUTH ST
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MORRISTOWN NJ 07960
